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               FOLDER:                                                          FILE:                                         BATES Nos.:
     1
    > 01 Search Warrant Returns           >> 1A18 SW RETURN:                                                                   Gov009095
                                             - 1266739541136120.zip (Gov009095)
    > 02 Device Extractions               >> 1B34_QMM240921JL5_16GiB_Fedex (Gov009096)                                      Gov009096-9099
                                          >> 1B35_QMM41122ER1_USB (Gov009097)
                                          >> 1B36_QMM1B36_JG ASUS (Gov009098)
                                          >> Blue HP Laptop Report (Gov009099)
    > 03 Drone Footage                    >> Drone Footage                                                                  Gov009100-010870
                                          >>> 3505 Summit Blvd
                                          >>>> Photos (DJI_0001.jpg-DJI0872.jpg) (Gov009100-9971)
                                          >>>> Report
                                          >>>>> Html link: 3505 Summit Blvd, West Palm Inspection Report (Gov009972)
                                          >>>>> PDF
                                                 - 3505 Summit Blvd, West Palm Processing Report Bates (Gov009973-9984)
                                                 - 2D Map Bates.pdf (Gov009985)
                                                 - 3D Map Bates.pdf (Gov009986)
                                          >>>> Golf Course
                                          >>>>> Photos (DJI_0001.jpg-DJI_0869.jpg) (Gov009987-10855)
                                          >>>>> Report
                                          >>>>>> Html link:                    West Palm Inspection Report (Gov0010856)
                                          >>>>>> PDF
                                                 -                   West Palm Processing Report Bates (Gov0010857-10868)
                                                 - 2D Map Bates.pdf (Gov010869)
                                                 - 3D Map Bates.pdf (Gov010870)
    > 04 Third Party Security Footage     >>711.zip (Gov010871-012749)                                                      Gov010871-012749
                                             - 20240915_0001_1100_103.mp4_transcoded.mp4
                                             - 20240915_0001_1101_106.mp4_transcoded.mp4
                                             - 20240915_0001_1102_111.mp4_transcoded.mp4
                                             - 20240915_0001_1103_114.mp4_transcoded.mp4
                                             - 20240915_0001_1104_116.mp4_transcoded.mp4
                                             - 20240915_0001_1105_123.mp4_transcoded.mp4

1
    “>” denotes a folder.
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FOLDER:                                             FILE:                                 BATES Nos.:
                     -   20240915_0001_1106_125.mp4_transcoded.mp4
                     -   20240915_0001_1107_131.mp4_transcoded.mp4
                     -   20240915_0001_1113_150.mp4_transcoded.mp4
                     -   20240915_0001_1115_157.mp4_transcoded.mp4
                     -   20240915_0001_1116_158.mp4_transcoded.mp4
                     -   20240915_0001_1117_165.mp4_transcoded.mp4
                     -   20240915_0001_1118_169.mp4_transcoded.mp4
                     -   20240915_0001_1119_171.mp4_transcoded.mp4
                     -   20240915_0001_1120_175.mp4_transcoded.mp4
                     -   20240915_0001_1121_181.mp4_transcoded.mp4
                     -   20240915_0001_1122_184.mp4_transcoded.mp4
                     -   20240915_0001_1123_188.mp4_transcoded.mp4
                     -   20240915_0001_1124_191.mp4_transcoded.mp4
                     -   20240915_0001_1127_203.mp4_transcoded.mp4
                     -   20240915_0001_1128_207.mp4_transcoded.mp4
                     -   20240915_0001_1129_211.mp4_transcoded.mp4
                     -   20240915_0001_1130_213.mp4_transcoded.mp4
                     -   20240915_0001_1131_218.mp4_transcoded.mp4
                     -   20240915_0001_1132_221.mp4_transcoded.mp4
                     -   20240915_0001_1133_226.mp4_transcoded.mp4
                     -   20240915_0001_1134_231.mp4_transcoded.mp4
                     -   20240915_0001_1139_244.mp4_transcoded.mp4
                     -   20240915_0001_1140_251.mp4_transcoded.mp4
                     -   20240915_0001_1141_252.mp4_transcoded.mp4
                     -   20240915_0001_1142_259.mp4_transcoded.mp4
                     -   20240915_0001_1144_265.mp4_transcoded.mp4
                     -   20240915_0001_1145_269.mp4_transcoded.mp4
                     -   20240915_0001_1146_273.mp4_transcoded.mp4
                     -   20240915_0001_1147_278.mp4_transcoded.mp4
                     -   20240915_0001_1148_281.mp4_transcoded.mp4
                                              2
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FOLDER:                                             FILE:                                 BATES Nos.:
                     -   20240915_0001_1149_286.mp4_transcoded.mp4
                     -   20240915_0001_1150_288.mp4_transcoded.mp4
                     -   20240915_0001_1151_293.mp4_transcoded.mp4
                     -   20240915_0001_1152_296.mp4_transcoded.mp4
                     -   20240915_0001_1153_300.mp4_transcoded.mp4
                     -   20240915_0001_1154_303.mp4_transcoded.mp4
                     -   20240915_0001_1156_310.mp4_transcoded.mp4
                     -   20240915_0001_1157_316.mp4_transcoded.mp4
                     -   20240915_0001_1158_320.mp4_transcoded.mp4
                     -   20240915_0001_1159_321.mp4_transcoded.mp4
                     -   20240915_0001_1200_328.mp4_transcoded.mp4
                     -   20240915_0001_1201_329.mp4_transcoded.mp4
                     -   20240915_0001_1202_335.mp4_transcoded.mp4
                     -   20240915_0001_1203_340.mp4_transcoded.mp4
                     -   20240915_0001_1204_344.mp4_transcoded.mp4
                     -   20240915_0001_1205_345.mp4_transcoded.mp4
                     -   20240915_0001_1207_354.mp4_transcoded.mp4
                     -   20240915_0001_1208_359.mp4_transcoded.mp4
                     -   20240915_0001_1209_361.mp4_transcoded.mp4
                     -   20240915_0001_1210_367.mp4_transcoded.mp4
                     -   20240915_0001_1215_383.mp4_transcoded.mp4
                     -   20240915_0001_1216_387.mp4_transcoded.mp4
                     -   20240915_0001_1218_393.mp4_transcoded.mp4
                     -   20240915_0001_1220_401.mp4_transcoded.mp4
                     -   20240915_0001_1221_404.mp4_transcoded.mp4
                     -   20240915_0001_1222_406.mp4_transcoded.mp4
                     -   20240915_0001_1223_412.mp4_transcoded.mp4
                     -   20240915_0001_1224_414.mp4_transcoded.mp4
                     -   20240915_0001_1225_421.mp4_transcoded.mp4
                     -   20240915_0001_1226_422.mp4_transcoded.mp4
                                              3
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FOLDER:                                             FILE:                                 BATES Nos.:
                     -   20240915_0001_1227_429.mp4_transcoded.mp4
                     -   20240915_0001_1228_430.mp4_transcoded.mp4
                     -   20240915_0001_1229_435.mp4_transcoded.mp4
                     -   20240915_0001_1230_437.mp4_transcoded.mp4
                     -   20240915_0001_1231_443.mp4_transcoded.mp4
                     -   20240915_0001_1232_445.mp4_transcoded.mp4
                     -   20240915_0001_1233_452.mp4_transcoded.mp4
                     -   20240915_0001_1234_454.mp4_transcoded.mp4
                     -   20240915_0001_1235_460.mp4_transcoded.mp4
                     -   20240915_0001_1236_462.mp4_transcoded.mp4
                     -   20240915_0001_1237_468.mp4_transcoded.mp4
                     -   20240915_0001_1238_470.mp4_transcoded.mp4
                     -   20240915_0001_1239_474.mp4_transcoded.mp4
                     -   20240915_0001_1240_477.mp4_transcoded.mp4
                     -   20240915_0001_1241_483.mp4_transcoded.mp4
                     -   20240915_0001_1242_485.mp4_transcoded.mp4
                     -   20240915_0001_1243_492.mp4_transcoded.mp4
                     -   20240915_0001_1244_496.mp4_transcoded.mp4
                     -   20240915_0001_1245_500.mp4_transcoded.mp4
                     -   20240915_0001_1246_501.mp4_transcoded.mp4
                     -   20240915_0001_1247_508.mp4_transcoded.mp4
                     -   20240915_0001_1248_510.mp4_transcoded.mp4
                     -   20240915_0001_1249_515.mp4_transcoded.mp4
                     -   20240915_0001_1250_517.mp4_transcoded.mp4
                     -   20240915_0001_1251_523.mp4_transcoded.mp4
                     -   20240915_0001_1252_525.mp4_transcoded.mp4
                     -   20240915_0001_1253_532.mp4_transcoded.mp4
                     -   20240915_0001_1254_536.mp4_transcoded.mp4
                     -   20240915_0001_1255_539.mp4_transcoded.mp4
                     -   20240915_0001_1256_543.mp4_transcoded.mp4
                                              4
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FOLDER:                                             FILE:                                 BATES Nos.:
                     -   20240915_0001_1259_554.mp4_transcoded.mp4
                     -   20240915_0001_1300_555.mp4_transcoded.mp4
                     -   20240915_0001_1302_563.mp4_transcoded.mp4
                     -   20240915_0001_1305_575.mp4_transcoded.mp4
                     -   20240915_0001_1306_579.mp4_transcoded.mp4
                     -   20240915_0001_1307_583.mp4_transcoded.mp4
                     -   20240915_0001_1309_590.mp4_transcoded.mp4
                     -   20240915_0001_1310_592.mp4_transcoded.mp4
                     -   20240915_0001_1311_598.mp4_transcoded.mp4
                     -   20240915_0001_1313_605.mp4_transcoded.mp4
                     -   20240915_0001_1314_609.mp4_transcoded.mp4
                     -   20240915_0001_1315_613.mp4_transcoded.mp4
                     -   20240915_0001_1316_617.mp4_transcoded.mp4
                     -   20240915_0001_1317_620.mp4_transcoded.mp4
                     -   20240915_0001_1318_624.mp4_transcoded.mp4
                     -   20240915_0001_1320_632.mp4_transcoded.mp4
                     -   20240915_0001_1321_633.mp4_transcoded.mp4
                     -   20240915_0001_1322_639.mp4_transcoded.mp4
                     -   20240915_0001_1324_647.mp4_transcoded.mp4
                     -   20240915_0001_1325_648.mp4_transcoded.mp4
                     -   20240915_0001_1326_654.mp4_transcoded.mp4
                     -   20240915_0001_1327_659.mp4_transcoded.mp4
                     -   20240915_0001_1328_661.mp4_transcoded.mp4
                     -   20240915_0001_1329_664.mp4_transcoded.mp4
                     -   20240915_0001_1330_669.mp4_transcoded.mp4
                     -   20240915_0001_1331_672.mp4_transcoded.mp4
                     -   20240915_0001_1332_678.mp4_transcoded.mp4
                     -   20240915_0001_1333_680.mp4_transcoded.mp4
                     -   20240915_0001_1334_685.mp4_transcoded.mp4
                     -   20240915_0001_1335_688.mp4_transcoded.mp4
                                              5
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FOLDER:                                             FILE:                                 BATES Nos.:
                     -   20240915_0001_1337_698.mp4_transcoded.mp4
                     -   20240915_0001_1338_702.mp4_transcoded.mp4
                     -   20240915_0001_1340_709.mp4_transcoded.mp4
                     -   20240915_0001_1341_713.mp4_transcoded.mp4
                     -   20240915_0001_1342_717.mp4_transcoded.mp4
                     -   20240915_0001_1343_721.mp4_transcoded.mp4
                     -   20240915_0001_1344_725.mp4_transcoded.mp4
                     -   20240915_0001_1345_729.mp4_transcoded.mp4
                     -   20240915_0001_1346_732.mp4_transcoded.mp4
                     -   20240915_0001_1347_737.mp4_transcoded.mp4
                     -   20240915_0001_1348_740.mp4_transcoded.mp4
                     -   20240915_0001_1349_745.mp4_transcoded.mp4
                     -   20240915_0001_1350_748.mp4_transcoded.mp4
                     -   20240915_0001_1352_754.mp4_transcoded.mp4
                     -   20240915_0001_1353_758.mp4_transcoded.mp4
                     -   20240915_0001_1354_764.mp4_transcoded.mp4
                     -   20240915_0001_1355_767.mp4_transcoded.mp4
                     -   20240915_0001_1356_772.mp4_transcoded.mp4
                     -   20240915_0001_1357_776.mp4_transcoded.mp4
                     -   20240915_0001_1358_777.mp4_transcoded.mp4
                     -   20240915_0001_1359_783.mp4_transcoded.mp4
                     -   20240915_0001_1400_785.mp4_transcoded.mp4
                     -   20240915_0001_1401_792.mp4_transcoded.mp4
                     -   20240915_0001_1402_793.mp4_transcoded.mp4
                     -   20240915_0001_1403_800.mp4_transcoded.mp4
                     -   20240915_0001_1404_803.mp4_transcoded.mp4
                     -   20240915_0001_1405_806.mp4_transcoded.mp4
                     -   20240915_0001_1406_809.mp4_transcoded.mp4
                     -   20240915_0001_1407_815.mp4_transcoded.mp4
                     -   20240915_0001_1408_817.mp4_transcoded.mp4
                                              6
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FOLDER:                                             FILE:                                 BATES Nos.:
                     -   20240915_0001_1410_826.mp4_transcoded.mp4
                     -   20240915_0001_1411_830.mp4_transcoded.mp4
                     -   20240915_0001_1412_835.mp4_transcoded.mp4
                     -   20240915_0001_1413_837.mp4_transcoded.mp4
                     -   20240915_0001_1414_840.mp4_transcoded.mp4
                     -   20240915_0001_1415_847.mp4_transcoded.mp4
                     -   20240915_0001_1416_848.mp4_transcoded.mp4
                     -   20240915_0001_1417_854.mp4_transcoded.mp4
                     -   20240915_0001_1418_858.mp4_transcoded.mp4
                     -   20240915_0001_1419_862.mp4_transcoded.mp4
                     -   20240915_0001_1420_867.mp4_transcoded.mp4
                     -   20240915_0001_1421_871.mp4_transcoded.mp4
                     -   20240915_0001_1422_875.mp4_transcoded.mp4
                     -   20240915_0001_1423_879.mp4_transcoded.mp4
                     -   20240915_0001_1424_883.mp4_transcoded.mp4
                     -   20240915_0001_1425_887.mp4_transcoded.mp4
                     -   20240915_0001_1426_889.mp4_transcoded.mp4
                     -   20240915_0001_1428_898.mp4_transcoded.mp4
                     -   20240915_0001_1429_900.mp4_transcoded.mp4
                     -   20240915_0001_1430_905.mp4_transcoded.mp4
                     -   20240915_0001_1431_908.mp4_transcoded.mp4
                     -   20240915_0001_1432_912.mp4_transcoded.mp4
                     -   20240915_0001_1433_918.mp4_transcoded.mp4
                     -   20240915_0001_1434_921.mp4_transcoded.mp4
                     -   20240915_0001_1435_926.mp4_transcoded.mp4
                     -   20240915_0001_1436_928.mp4_transcoded.mp4
                     -   20240915_0001_1437_931.mp4_transcoded.mp4
                     -   20240915_0001_1438_937.mp4_transcoded.mp4
                     -   20240915_0001_1439_939.mp4_transcoded.mp4
                     -   20240915_0001_1440_946.mp4_transcoded.mp4
                                              7
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FOLDER:                                             FILE:                                 BATES Nos.:
                     -   20240915_0001_1441_947.mp4_transcoded.mp4
                     -   20240915_0001_1442_953.mp4_transcoded.mp4
                     -   20240915_0001_1443_957.mp4_transcoded.mp4
                     -   20240915_0001_1444_962.mp4_transcoded.mp4
                     -   20240915_0001_1445_966.mp4_transcoded.mp4
                     -   20240915_0001_1446_969.mp4_transcoded.mp4
                     -   20240915_0001_1447_971.mp4_transcoded.mp4
                     -   20240915_0001_1448_977.mp4_transcoded.mp4
                     -   20240915_0001_1449_979.mp4_transcoded.mp4
                     -   20240915_0001_1450_985.mp4_transcoded.mp4
                     -   20240915_0001_1451_987.mp4_transcoded.mp4
                     -   20240915_0001_1452_994.mp4_transcoded.mp4
                     -   20240915_0001_1453_995.mp4_transcoded.mp4
                     -   20240915_0001_1454_1002.mp4_transcoded.mp4
                     -   20240915_0001_1455_1005.mp4_transcoded.mp4
                     -   20240915_0001_1456_1009.mp4_transcoded.mp4
                     -   20240915_0001_1457_1013.mp4_transcoded.mp4
                     -   20240915_0001_1458_1017.mp4_transcoded.mp4
                     -   20240915_0001_1500_1025.mp4_transcoded.mp4
                     -   20240915_0001_1501_1029.mp4_transcoded.mp4
                     -   20240915_0001_1502_1032.mp4_transcoded.mp4
                     -   20240915_0001_1503_1036.mp4_transcoded.mp4
                     -   20240915_0001_1504_1041.mp4_transcoded.mp4
                     -   20240915_0001_1505_1044.mp4_transcoded.mp4
                     -   20240915_0001_1506_1048.mp4_transcoded.mp4
                     -   20240915_0001_1507_1052.mp4_transcoded.mp4
                     -   20240915_0001_1508_1055.mp4_transcoded.mp4
                     -   20240915_0001_1509_1061.mp4_transcoded.mp4
                     -   20240915_0001_1510_1063.mp4_transcoded.mp4
                     -   20240915_0001_1511_1068.mp4_transcoded.mp4
                                              8
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FOLDER:                                             FILE:                                 BATES Nos.:
                     -   20240915_0001_1512_1072.mp4_transcoded.mp4
                     -   20240915_0001_1513_1077.mp4_transcoded.mp4
                     -   20240915_0001_1514_1078.mp4_transcoded.mp4
                     -   20240915_0001_1515_1085.mp4_transcoded.mp4
                     -   20240915_0001_1516_1086.mp4_transcoded.mp4
                     -   20240915_0001_1517_1093.mp4_transcoded.mp4
                     -   20240915_0001_1518_1094.mp4_transcoded.mp4
                     -   20240915_0001_1519_1101.mp4_transcoded.mp4
                     -   20240915_0001_1520_1102.mp4_transcoded.mp4
                     -   20240915_0001_1521_1109.mp4_transcoded.mp4
                     -   20240915_0001_1522_1110.mp4_transcoded.mp4
                     -   20240915_0001_1523_1116.mp4_transcoded.mp4
                     -   20240915_0001_1524_1118.mp4_transcoded.mp4
                     -   20240915_0001_1525_1125.mp4_transcoded.mp4
                     -   20240915_0001_1526_1129.mp4_transcoded.mp4
                     -   20240915_0001_1527_1133.mp4_transcoded.mp4
                     -   20240915_0001_1528_1137.mp4_transcoded.mp4
                     -   20240915_0001_1529_1139.mp4_transcoded.mp4
                     -   20240915_0001_1530_1142.mp4_transcoded.mp4
                     -   20240915_0001_1531_1149.mp4_transcoded.mp4
                     -   20240915_0001_1532_1152.mp4_transcoded.mp4
                     -   20240915_0001_1533_1156.mp4_transcoded.mp4
                     -   20240915_0001_1534_1160.mp4_transcoded.mp4
                     -   20240915_0001_1535_1165.mp4_transcoded.mp4
                     -   20240915_0001_1536_1169.mp4_transcoded.mp4
                     -   20240915_0001_1537_1173.mp4_transcoded.mp4
                     -   20240915_0001_1538_1175.mp4_transcoded.mp4
                     -   20240915_0001_1539_1181.mp4_transcoded.mp4
                     -   20240915_0001_1540_1184.mp4_transcoded.mp4
                     -   20240915_0001_1541_1187.mp4_transcoded.mp4
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0001_1542_1191.mp4_transcoded.mp4
                      -   20240915_0001_1543_1196.mp4_transcoded.mp4
                      -   20240915_0001_1544_1201.mp4_transcoded.mp4
                      -   20240915_0001_1545_1202.mp4_transcoded.mp4
                      -   20240915_0001_1546_1208.mp4_transcoded.mp4
                      -   20240915_0001_1547_1212.mp4_transcoded.mp4
                      -   20240915_0001_1548_1215.mp4_transcoded.mp4
                      -   20240915_0001_1549_1221.mp4_transcoded.mp4
                      -   20240915_0001_1550_1225.mp4_transcoded.mp4
                      -   20240915_0001_1551_1226.mp4_transcoded.mp4
                      -   20240915_0001_1552_1232.mp4_transcoded.mp4
                      -   20240915_0001_1553_1237.mp4_transcoded.mp4
                      -   20240915_0001_1554_1239.mp4_transcoded.mp4
                      -   20240915_0001_1555_1242.mp4_transcoded.mp4
                      -   20240915_0001_1556_1248.mp4_transcoded.mp4
                      -   20240915_0001_1557_1250.mp4_transcoded.mp4
                      -   20240915_0001_1558_1257.mp4_transcoded.mp4
                      -   20240915_0001_1559_1258.mp4_transcoded.mp4
                      -   20240915_0001_1600_1264.mp4_transcoded.mp4
                      -   20240915_0001_1601_1269.mp4_transcoded.mp4
                      -   20240915_0001_1602_1271.mp4_transcoded.mp4
                      -   20240915_0001_1603_1277.mp4_transcoded.mp4
                      -   20240915_0001_1604_1279.mp4_transcoded.mp4
                      -   20240915_0001_1605_1282.mp4_transcoded.mp4
                      -   20240915_0001_1606_1289.mp4_transcoded.mp4
                      -   20240915_0001_1607_1292.mp4_transcoded.mp4
                      -   20240915_0001_1608_1296.mp4_transcoded.mp4
                      -   20240915_0001_1609_1298.mp4_transcoded.mp4
                      -   20240915_0001_1610_1303.mp4_transcoded.mp4
                      -   20240915_0001_1611_1308.mp4_transcoded.mp4
                                               10
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0001_1612_1311.mp4_transcoded.mp4
                      -   20240915_0001_1613_1314.mp4_transcoded.mp4
                      -   20240915_0001_1614_1319.mp4_transcoded.mp4
                      -   20240915_0001_1615_1324.mp4_transcoded.mp4
                      -   20240915_0001_1616_1327.mp4_transcoded.mp4
                      -   20240915_0001_1617_1331.mp4_transcoded.mp4
                      -   20240915_0001_1618_1336.mp4_transcoded.mp4
                      -   20240915_0001_1619_1338.mp4_transcoded.mp4
                      -   20240915_0001_1620_1342.mp4_transcoded.mp4
                      -   20240915_0001_1621_1345.mp4_transcoded.mp4
                      -   20240915_0001_1622_1352.mp4_transcoded.mp4
                      -   20240915_0001_1623_1353.mp4_transcoded.mp4
                      -   20240915_0001_1624_1358.mp4_transcoded.mp4
                      -   20240915_0001_1625_1364.mp4_transcoded.mp4
                      -   20240915_0001_1626_1367.mp4_transcoded.mp4
                      -   20240915_0001_1627_1370.mp4_transcoded.mp4
                      -   20240915_0001_1628_1373.mp4_transcoded.mp4
                      -   20240915_0001_1629_1380.mp4_transcoded.mp4
                      -   20240915_0001_1630_1381.mp4_transcoded.mp4
                      -   20240915_0001_1631_1388.mp4_transcoded.mp4
                      -   20240915_0001_1632_1390.mp4_transcoded.mp4
                      -   20240915_0001_1633_1393.mp4_transcoded.mp4
                      -   20240915_0001_1634_1400.mp4_transcoded.mp4
                      -   20240915_0001_1635_1403.mp4_transcoded.mp4
                      -   20240915_0001_1636_1405.mp4_transcoded.mp4
                      -   20240915_0001_1637_1410.mp4_transcoded.mp4
                      -   20240915_0001_1638_1413.mp4_transcoded.mp4
                      -   20240915_0001_1639_1418.mp4_transcoded.mp4
                      -   20240915_0001_1640_1421.mp4_transcoded.mp4
                      -   20240915_0001_1641_1428.mp4_transcoded.mp4
                                               11
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0001_1643_1432.mp4_transcoded.mp4
                      -   20240915_0001_1645_1442.mp4_transcoded.mp4
                      -   20240915_0001_1646_1446.mp4_transcoded.mp4
                      -   20240915_0001_1647_1450.mp4_transcoded.mp4
                      -   20240915_0001_1648_1451.mp4_transcoded.mp4
                      -   20240915_0001_1649_1458.mp4_transcoded.mp4
                      -   20240915_0001_1650_1461.mp4_transcoded.mp4
                      -   20240915_0001_1651_1465.mp4_transcoded.mp4
                      -   20240915_0001_1653_1473.mp4_transcoded.mp4
                      -   20240915_0001_1654_1477.mp4_transcoded.mp4
                      -   20240915_0001_1655_1481.mp4_transcoded.mp4
                      -   20240915_0001_1656_1485.mp4_transcoded.mp4
                      -   20240915_0001_1657_1488.mp4_transcoded.mp4
                      -   20240915_0001_1658_1492.mp4_transcoded.mp4
                      -   20240915_0001_1659_1495.mp4_transcoded.mp4
                      -   20240915_0001_1700_1501.mp4_transcoded.mp4
                      -   20240915_0001_1701_1503.mp4_transcoded.mp4
                      -   20240915_0001_1702_1506.mp4_transcoded.mp4
                      -   20240915_0001_1703_1512.mp4_transcoded.mp4
                      -   20240915_0001_1704_1517.mp4_transcoded.mp4
                      -   20240915_0001_1705_1521.mp4_transcoded.mp4
                      -   20240915_0001_1706_1524.mp4_transcoded.mp4
                      -   20240915_0001_1707_1529.mp4_transcoded.mp4
                      -   20240915_0001_1708_1533.mp4_transcoded.mp4
                      -   20240915_0001_1709_1537.mp4_transcoded.mp4
                      -   20240915_0001_1710_1541.mp4_transcoded.mp4
                      -   20240915_0001_1711_1542.mp4_transcoded.mp4
                      -   20240915_0001_1712_1549.mp4_transcoded.mp4
                      -   20240915_0001_1713_1550.mp4_transcoded.mp4
                      -   20240915_0001_1714_1557.mp4_transcoded.mp4
                                               12
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0001_1715_1560.mp4_transcoded.mp4
                      -   20240915_0001_1716_1564.mp4_transcoded.mp4
                      -   20240915_0001_1717_1568.mp4_transcoded.mp4
                      -   20240915_0001_1718_1573.mp4_transcoded.mp4
                      -   20240915_0001_1719_1577.mp4_transcoded.mp4
                      -   20240915_0001_1720_1581.mp4_transcoded.mp4
                      -   20240915_0001_1721_1584.mp4_transcoded.mp4
                      -   20240915_0001_1722_1586.mp4_transcoded.mp4
                      -   20240915_0001_1723_1592.mp4_transcoded.mp4
                      -   20240915_0001_1724_1596.mp4_transcoded.mp4
                      -   20240915_0001_1726_1604.mp4_transcoded.mp4
                      -   20240915_0001_1727_1606.mp4_transcoded.mp4
                      -   20240915_0001_1728_1611.mp4_transcoded.mp4
                      -   20240915_0001_1729_1615.mp4_transcoded.mp4
                      -   20240915_0001_1730_1620.mp4_transcoded.mp4
                      -   20240915_0001_1731_1623.mp4_transcoded.mp4
                      -   20240915_0001_1732_1625.mp4_transcoded.mp4
                      -   20240915_0001_1733_1632.mp4_transcoded.mp4
                      -   20240915_0001_1734_1636.mp4_transcoded.mp4
                      -   20240915_0001_1735_1640.mp4_transcoded.mp4
                      -   20240915_0001_1736_1644.mp4_transcoded.mp4
                      -   20240915_0001_1737_1648.mp4_transcoded.mp4
                      -   20240915_0001_1738_1652.mp4_transcoded.mp4
                      -   20240915_0001_1739_1656.mp4_transcoded.mp4
                      -   20240915_0001_1740_1658.mp4_transcoded.mp4
                      -   20240915_0001_1741_1664.mp4_transcoded.mp4
                      -   20240915_0001_1742_1668.mp4_transcoded.mp4
                      -   20240915_0001_1743_1672.mp4_transcoded.mp4
                      -   20240915_0001_1744_1676.mp4_transcoded.mp4
                      -   20240915_0001_1745_1680.mp4_transcoded.mp4
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0001_1746_1682.mp4_transcoded.mp4
                      -   20240915_0001_1747_1688.mp4_transcoded.mp4
                      -   20240915_0001_1748_1690.mp4_transcoded.mp4
                      -   20240915_0001_1749_1693.mp4_transcoded.mp4
                      -   20240915_0001_1750_1700.mp4_transcoded.mp4
                      -   20240915_0001_1751_1704.mp4_transcoded.mp4
                      -   20240915_0001_1752_1706.mp4_transcoded.mp4
                      -   20240915_0001_1753_1709.mp4_transcoded.mp4
                      -   20240915_0001_1754_1715.mp4_transcoded.mp4
                      -   20240915_0001_1755_1717.mp4_transcoded.mp4
                      -   20240915_0001_1756_1723.mp4_transcoded.mp4
                      -   20240915_0001_1757_1728.mp4_transcoded.mp4
                      -   20240915_0001_1758_1732.mp4_transcoded.mp4
                      -   20240915_0001_1759_1733.mp4_transcoded.mp4
                      -   20240915_0001_1800_1739.mp4_transcoded.mp4
                      -   20240915_0001_1801_1741.mp4_transcoded.mp4
                      -   20240915_0001_1802_1747.mp4_transcoded.mp4
                      -   20240915_0001_1803_1749.mp4_transcoded.mp4
                      -   20240915_0001_1804_1755.mp4_transcoded.mp4
                      -   20240915_0001_1805_1757.mp4_transcoded.mp4
                      -   20240915_0001_1806_1762.mp4_transcoded.mp4
                      -   20240915_0001_1807_1768.mp4_transcoded.mp4
                      -   20240915_0001_1808_1772.mp4_transcoded.mp4
                      -   20240915_0001_1809_1773.mp4_transcoded.mp4
                      -   20240915_0001_1810_1780.mp4_transcoded.mp4
                      -   20240915_0001_1811_1782.mp4_transcoded.mp4
                      -   20240915_0001_1812_1788.mp4_transcoded.mp4
                      -   20240915_0001_1813_1789.mp4_transcoded.mp4
                      -   20240915_0001_1814_1796.mp4_transcoded.mp4
                      -   20240915_0001_1815_1798.mp4_transcoded.mp4
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0001_1816_1801.mp4_transcoded.mp4
                      -   20240915_0001_1817_1806.mp4_transcoded.mp4
                      -   20240915_0001_1818_1812.mp4_transcoded.mp4
                      -   20240915_0001_1819_1816.mp4_transcoded.mp4
                      -   20240915_0001_1820_1820.mp4_transcoded.mp4
                      -   20240915_0001_1821_1822.mp4_transcoded.mp4
                      -   20240915_0001_1822_1828.mp4_transcoded.mp4
                      -   20240915_0001_1823_1830.mp4_transcoded.mp4
                      -   20240915_0001_1824_1836.mp4_transcoded.mp4
                      -   20240915_0001_1825_1838.mp4_transcoded.mp4
                      -   20240915_0001_1826_1841.mp4_transcoded.mp4
                      -   20240915_0001_1827_1846.mp4_transcoded.mp4
                      -   20240915_0001_1828_1849.mp4_transcoded.mp4
                      -   20240915_0001_1829_1854.mp4_transcoded.mp4
                      -   20240915_0001_1830_1857.mp4_transcoded.mp4
                      -   20240915_0001_1831_1862.mp4_transcoded.mp4
                      -   20240915_0001_1832_1865.mp4_transcoded.mp4
                      -   20240915_0001_1833_1871.mp4_transcoded.mp4
                      -   20240915_0001_1834_1873.mp4_transcoded.mp4
                      -   20240915_0001_1835_1880.mp4_transcoded.mp4
                      -   20240915_0001_1836_1881.mp4_transcoded.mp4
                      -   20240915_0001_1838_1891.mp4_transcoded.mp4
                      -   20240915_0001_1839_1894.mp4_transcoded.mp4
                      -   20240915_0001_1840_1899.mp4_transcoded.mp4
                      -   20240915_0001_1841_1902.mp4_transcoded.mp4
                      -   20240915_0001_1842_1905.mp4_transcoded.mp4
                      -   20240915_0001_1843_1910.mp4_transcoded.mp4
                      -   20240915_0001_1844_1913.mp4_transcoded.mp4
                      -   20240915_0001_1845_1919.mp4_transcoded.mp4
                      -   20240915_0001_1846_1923.mp4_transcoded.mp4
                                               15
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0001_1847_1927.mp4_transcoded.mp4
                      -   20240915_0001_1848_1931.mp4_transcoded.mp4
                      -   20240915_0001_1849_1935.mp4_transcoded.mp4
                      -   20240915_0001_1850_1937.mp4_transcoded.mp4
                      -   20240915_0001_1851_1940.mp4_transcoded.mp4
                      -   20240915_0001_1852_1944.mp4_transcoded.mp4
                      -   20240915_0001_1853_1948.mp4_transcoded.mp4
                      -   20240915_0001_1854_1954.mp4_transcoded.mp4
                      -   20240915_0001_1855_1956.mp4_transcoded.mp4
                      -   20240915_0001_1856_1962.mp4_transcoded.mp4
                      -   20240915_0001_1857_1964.mp4_transcoded.mp4
                      -   20240915_0001_1858_1971.mp4_transcoded.mp4
                      -   20240915_0001_1859_1973.mp4_transcoded.mp4
                      -   20240915_0002_1100_102.mp4_transcoded.mp4
                      -   20240915_0002_1101_107.mp4_transcoded.mp4
                      -   20240915_0002_1102_109.mp4_transcoded.mp4
                      -   20240915_0002_1103_115.mp4_transcoded.mp4
                      -   20240915_0002_1104_119.mp4_transcoded.mp4
                      -   20240915_0002_1105_122.mp4_transcoded.mp4
                      -   20240915_0002_1106_127.mp4_transcoded.mp4
                      -   20240915_0002_1107_128.mp4_transcoded.mp4
                      -   20240915_0002_1108_134.mp4_transcoded.mp4
                      -   20240915_0002_1109_135.mp4_transcoded.mp4
                      -   20240915_0002_1110_140.mp4_transcoded.mp4
                      -   20240915_0002_1111_141.mp4_transcoded.mp4
                      -   20240915_0002_1112_145.mp4_transcoded.mp4
                      -   20240915_0002_1113_147.mp4_transcoded.mp4
                      -   20240915_0002_1114_153.mp4_transcoded.mp4
                      -   20240915_0002_1115_154.mp4_transcoded.mp4
                      -   20240915_0002_1116_161.mp4_transcoded.mp4
                                               16
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0002_1117_162.mp4_transcoded.mp4
                      -   20240915_0002_1118_167.mp4_transcoded.mp4
                      -   20240915_0002_1119_173.mp4_transcoded.mp4
                      -   20240915_0002_1120_177.mp4_transcoded.mp4
                      -   20240915_0002_1121_180.mp4_transcoded.mp4
                      -   20240915_0002_1122_185.mp4_transcoded.mp4
                      -   20240915_0002_1123_189.mp4_transcoded.mp4
                      -   20240915_0002_1124_193.mp4_transcoded.mp4
                      -   20240915_0002_1125_195.mp4_transcoded.mp4
                      -   20240915_0002_1126_198.mp4_transcoded.mp4
                      -   20240915_0002_1127_202.mp4_transcoded.mp4
                      -   20240915_0002_1128_204.mp4_transcoded.mp4
                      -   20240915_0002_1129_210.mp4_transcoded.mp4
                      -   20240915_0002_1130_214.mp4_transcoded.mp4
                      -   20240915_0002_1131_219.mp4_transcoded.mp4
                      -   20240915_0002_1132_222.mp4_transcoded.mp4
                      -   20240915_0002_1133_227.mp4_transcoded.mp4
                      -   20240915_0002_1134_230.mp4_transcoded.mp4
                      -   20240915_0002_1135_234.mp4_transcoded.mp4
                      -   20240915_0002_1136_237.mp4_transcoded.mp4
                      -   20240915_0002_1137_240.mp4_transcoded.mp4
                      -   20240915_0002_1138_241.mp4_transcoded.mp4
                      -   20240915_0002_1139_247.mp4_transcoded.mp4
                      -   20240915_0002_1140_248.mp4_transcoded.mp4
                      -   20240915_0002_1141_254.mp4_transcoded.mp4
                      -   20240915_0002_1142_258.mp4_transcoded.mp4
                      -   20240915_0002_1143_262.mp4_transcoded.mp4
                      -   20240915_0002_1144_263.mp4_transcoded.mp4
                      -   20240915_0002_1145_270.mp4_transcoded.mp4
                      -   20240915_0002_1146_274.mp4_transcoded.mp4
                                               17
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0002_1147_277.mp4_transcoded.mp4
                      -   20240915_0002_1148_282.mp4_transcoded.mp4
                      -   20240915_0002_1149_285.mp4_transcoded.mp4
                      -   20240915_0002_1150_289.mp4_transcoded.mp4
                      -   20240915_0002_1152_297.mp4_transcoded.mp4
                      -   20240915_0002_1153_301.mp4_transcoded.mp4
                      -   20240915_0002_1154_305.mp4_transcoded.mp4
                      -   20240915_0002_1155_307.mp4_transcoded.mp4
                      -   20240915_0002_1156_312.mp4_transcoded.mp4
                      -   20240915_0002_1157_313.mp4_transcoded.mp4
                      -   20240915_0002_1158_317.mp4_transcoded.mp4
                      -   20240915_0002_1159_323.mp4_transcoded.mp4
                      -   20240915_0002_1200_325.mp4_transcoded.mp4
                      -   20240915_0002_1201_332.mp4_transcoded.mp4
                      -   20240915_0002_1202_336.mp4_transcoded.mp4
                      -   20240915_0002_1203_339.mp4_transcoded.mp4
                      -   20240915_0002_1204_341.mp4_transcoded.mp4
                      -   20240915_0002_1205_348.mp4_transcoded.mp4
                      -   20240915_0002_1206_349.mp4_transcoded.mp4
                      -   20240915_0002_1207_355.mp4_transcoded.mp4
                      -   20240915_0002_1208_358.mp4_transcoded.mp4
                      -   20240915_0002_1209_362.mp4_transcoded.mp4
                      -   20240915_0002_1210_364.mp4_transcoded.mp4
                      -   20240915_0002_1324_644.mp4_transcoded.mp4
                      -   20240915_0002_1325_649.mp4_transcoded.mp4
                      -   20240915_0002_1326_652.mp4_transcoded.mp4
                      -   20240915_0002_1327_657.mp4_transcoded.mp4
                      -   20240915_0002_1440_944.mp4_transcoded.mp4
                      -   20240915_0002_1441_949.mp4_transcoded.mp4
                      -   20240915_0002_1442_951.mp4_transcoded.mp4
                                               18
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0002_1443_955.mp4_transcoded.mp4
                      -   20240915_0002_1444_961.mp4_transcoded.mp4
                      -   20240915_0002_1445_965.mp4_transcoded.mp4
                      -   20240915_0002_1446_968.mp4_transcoded.mp4
                      -   20240915_0002_1447_974.mp4_transcoded.mp4
                      -   20240915_0002_1448_975.mp4_transcoded.mp4
                      -   20240915_0002_1449_982.mp4_transcoded.mp4
                      -   20240915_0002_1450_983.mp4_transcoded.mp4
                      -   20240915_0002_1451_990.mp4_transcoded.mp4
                      -   20240915_0002_1452_991.mp4_transcoded.mp4
                      -   20240915_0002_1453_998.mp4_transcoded.mp4
                      -   20240915_0002_1454_1000.mp4_transcoded.mp4
                      -   20240915_0002_1455_1006.mp4_transcoded.mp4
                      -   20240915_0002_1456_1010.mp4_transcoded.mp4
                      -   20240915_0002_1457_1014.mp4_transcoded.mp4
                      -   20240915_0002_1458_1015.mp4_transcoded.mp4
                      -   20240915_0002_1459_1019.mp4_transcoded.mp4
                      -   20240915_0002_1500_1023.mp4_transcoded.mp4
                      -   20240915_0002_1501_1026.mp4_transcoded.mp4
                      -   20240915_0002_1502_1031.mp4_transcoded.mp4
                      -   20240915_0002_1503_1037.mp4_transcoded.mp4
                      -   20240915_0002_1504_1039.mp4_transcoded.mp4
                      -   20240915_0002_1505_1042.mp4_transcoded.mp4
                      -   20240915_0002_1506_1047.mp4_transcoded.mp4
                      -   20240915_0002_1507_1050.mp4_transcoded.mp4
                      -   20240915_0002_1508_1057.mp4_transcoded.mp4
                      -   20240915_0002_1509_1058.mp4_transcoded.mp4
                      -   20240915_0002_1510_1065.mp4_transcoded.mp4
                      -   20240915_0002_1511_1066.mp4_transcoded.mp4
                      -   20240915_0002_1512_1073.mp4_transcoded.mp4
                                               19
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0002_1513_1074.mp4_transcoded.mp4
                      -   20240915_0002_1514_1080.mp4_transcoded.mp4
                      -   20240915_0002_1515_1083.mp4_transcoded.mp4
                      -   20240915_0002_1516_1089.mp4_transcoded.mp4
                      -   20240915_0002_1517_1091.mp4_transcoded.mp4
                      -   20240915_0002_1518_1097.mp4_transcoded.mp4
                      -   20240915_0002_1519_1099.mp4_transcoded.mp4
                      -   20240915_0002_1520_1105.mp4_transcoded.mp4
                      -   20240915_0002_1521_1106.mp4_transcoded.mp4
                      -   20240915_0002_1522_1112.mp4_transcoded.mp4
                      -   20240915_0002_1523_1117.mp4_transcoded.mp4
                      -   20240915_0002_1524_1121.mp4_transcoded.mp4
                      -   20240915_0002_1525_1123.mp4_transcoded.mp4
                      -   20240915_0002_1526_1128.mp4_transcoded.mp4
                      -   20240915_0002_1527_1131.mp4_transcoded.mp4
                      -   20240915_0002_1528_1136.mp4_transcoded.mp4
                      -   20240915_0002_1529_1141.mp4_transcoded.mp4
                      -   20240915_0002_1530_1145.mp4_transcoded.mp4
                      -   20240915_0002_1531_1147.mp4_transcoded.mp4
                      -   20240915_0002_1532_1153.mp4_transcoded.mp4
                      -   20240915_0002_1533_1157.mp4_transcoded.mp4
                      -   20240915_0002_1534_1161.mp4_transcoded.mp4
                      -   20240915_0002_1535_1163.mp4_transcoded.mp4
                      -   20240915_0002_1536_1166.mp4_transcoded.mp4
                      -   20240915_0002_1537_1171.mp4_transcoded.mp4
                      -   20240915_0002_1538_1177.mp4_transcoded.mp4
                      -   20240915_0002_1539_1179.mp4_transcoded.mp4
                      -   20240915_0002_1540_1182.mp4_transcoded.mp4
                      -   20240915_0002_1541_1186.mp4_transcoded.mp4
                      -   20240915_0002_1211_368.mp4_transcoded.mp4
                                               20
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0002_1212_372.mp4_transcoded.mp4
                      -   20240915_0002_1213_376.mp4_transcoded.mp4
                      -   20240915_0002_1214_377.mp4_transcoded.mp4
                      -   20240915_0002_1215_381.mp4_transcoded.mp4
                      -   20240915_0002_1216_384.mp4_transcoded.mp4
                      -   20240915_0002_1217_390.mp4_transcoded.mp4
                      -   20240915_0002_1218_391.mp4_transcoded.mp4
                      -   20240915_0002_1219_396.mp4_transcoded.mp4
                      -   20240915_0002_1220_400.mp4_transcoded.mp4
                      -   20240915_0002_1221_405.mp4_transcoded.mp4
                      -   20240915_0002_1222_408.mp4_transcoded.mp4
                      -   20240915_0002_1223_413.mp4_transcoded.mp4
                      -   20240915_0002_1224_416.mp4_transcoded.mp4
                      -   20240915_0002_1225_420.mp4_transcoded.mp4
                      -   20240915_0002_1226_425.mp4_transcoded.mp4
                      -   20240915_0002_1227_426.mp4_transcoded.mp4
                      -   20240915_0002_1229_436.mp4_transcoded.mp4
                      -   20240915_0002_1230_440.mp4_transcoded.mp4
                      -   20240915_0002_1231_444.mp4_transcoded.mp4
                      -   20240915_0002_1232_447.mp4_transcoded.mp4
                      -   20240915_0002_1233_451.mp4_transcoded.mp4
                      -   20240915_0002_1234_456.mp4_transcoded.mp4
                      -   20240915_0002_1235_457.mp4_transcoded.mp4
                      -   20240915_0002_1236_463.mp4_transcoded.mp4
                      -   20240915_0002_1237_465.mp4_transcoded.mp4
                      -   20240915_0002_1238_471.mp4_transcoded.mp4
                      -   20240915_0002_1239_475.mp4_transcoded.mp4
                      -   20240915_0002_1240_480.mp4_transcoded.mp4
                      -   20240915_0002_1241_484.mp4_transcoded.mp4
                      -   20240915_0002_1242_488.mp4_transcoded.mp4
                                               21
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0002_1243_489.mp4_transcoded.mp4
                      -   20240915_0002_1244_494.mp4_transcoded.mp4
                      -   20240915_0002_1245_497.mp4_transcoded.mp4
                      -   20240915_0002_1246_503.mp4_transcoded.mp4
                      -   20240915_0002_1247_505.mp4_transcoded.mp4
                      -   20240915_0002_1248_512.mp4_transcoded.mp4
                      -   20240915_0002_1249_513.mp4_transcoded.mp4
                      -   20240915_0002_1250_520.mp4_transcoded.mp4
                      -   20240915_0002_1251_522.mp4_transcoded.mp4
                      -   20240915_0002_1252_527.mp4_transcoded.mp4
                      -   20240915_0002_1253_531.mp4_transcoded.mp4
                      -   20240915_0002_1254_535.mp4_transcoded.mp4
                      -   20240915_0002_1255_538.mp4_transcoded.mp4
                      -   20240915_0002_1256_542.mp4_transcoded.mp4
                      -   20240915_0002_1257_545.mp4_transcoded.mp4
                      -   20240915_0002_1258_550.mp4_transcoded.mp4
                      -   20240915_0002_1259_553.mp4_transcoded.mp4
                      -   20240915_0002_1300_558.mp4_transcoded.mp4
                      -   20240915_0002_1301_560.mp4_transcoded.mp4
                      -   20240915_0002_1302_564.mp4_transcoded.mp4
                      -   20240915_0002_1303_566.mp4_transcoded.mp4
                      -   20240915_0002_1304_569.mp4_transcoded.mp4
                      -   20240915_0002_1305_574.mp4_transcoded.mp4
                      -   20240915_0002_1306_576.mp4_transcoded.mp4
                      -   20240915_0002_1307_580.mp4_transcoded.mp4
                      -   20240915_0002_1308_584.mp4_transcoded.mp4
                      -   20240915_0002_1309_588.mp4_transcoded.mp4
                      -   20240915_0002_1310_591.mp4_transcoded.mp4
                      -   20240915_0002_1311_597.mp4_transcoded.mp4
                      -   20240915_0002_1312_601.mp4_transcoded.mp4
                                               22
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0002_1313_603.mp4_transcoded.mp4
                      -   20240915_0002_1314_606.mp4_transcoded.mp4
                      -   20240915_0002_1315_611.mp4_transcoded.mp4
                      -   20240915_0002_1316_614.mp4_transcoded.mp4
                      -   20240915_0002_1317_619.mp4_transcoded.mp4
                      -   20240915_0002_1318_622.mp4_transcoded.mp4
                      -   20240915_0002_1319_627.mp4_transcoded.mp4
                      -   20240915_0002_1320_629.mp4_transcoded.mp4
                      -   20240915_0002_1321_635.mp4_transcoded.mp4
                      -   20240915_0002_1322_637.mp4_transcoded.mp4
                      -   20240915_0002_1323_643.mp4_transcoded.mp4
                      -   20240915_0002_1328_660.mp4_transcoded.mp4
                      -   20240915_0002_1329_667.mp4_transcoded.mp4
                      -   20240915_0002_1330_671.mp4_transcoded.mp4
                      -   20240915_0002_1331_675.mp4_transcoded.mp4
                      -   20240915_0002_1332_676.mp4_transcoded.mp4
                      -   20240915_0002_1333_683.mp4_transcoded.mp4
                      -   20240915_0002_1334_687.mp4_transcoded.mp4
                      -   20240915_0002_1335_691.mp4_transcoded.mp4
                      -   20240915_0002_1336_693.mp4_transcoded.mp4
                      -   20240915_0002_1337_697.mp4_transcoded.mp4
                      -   20240915_0002_1338_700.mp4_transcoded.mp4
                      -   20240915_0002_1339_704.mp4_transcoded.mp4
                      -   20240915_0002_1340_707.mp4_transcoded.mp4
                      -   20240915_0002_1341_710.mp4_transcoded.mp4
                      -   20240915_0002_1342_715.mp4_transcoded.mp4
                      -   20240915_0002_1343_718.mp4_transcoded.mp4
                      -   20240915_0002_1344_723.mp4_transcoded.mp4
                      -   20240915_0002_1345_726.mp4_transcoded.mp4
                      -   20240915_0002_1346_731.mp4_transcoded.mp4
                                               23
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0002_1347_734.mp4_transcoded.mp4
                      -   20240915_0002_1348_739.mp4_transcoded.mp4
                      -   20240915_0002_1349_742.mp4_transcoded.mp4
                      -   20240915_0002_1350_747.mp4_transcoded.mp4
                      -   20240915_0002_1351_750.mp4_transcoded.mp4
                      -   20240915_0002_1352_753.mp4_transcoded.mp4
                      -   20240915_0002_1353_757.mp4_transcoded.mp4
                      -   20240915_0002_1354_762.mp4_transcoded.mp4
                      -   20240915_0002_1355_765.mp4_transcoded.mp4
                      -   20240915_0002_1356_770.mp4_transcoded.mp4
                      -   20240915_0002_1357_773.mp4_transcoded.mp4
                      -   20240915_0002_1358_779.mp4_transcoded.mp4
                      -   20240915_0002_1359_784.mp4_transcoded.mp4
                      -   20240915_0002_1400_787.mp4_transcoded.mp4
                      -   20240915_0002_1401_790.mp4_transcoded.mp4
                      -   20240915_0002_1402_795.mp4_transcoded.mp4
                      -   20240915_0002_1403_798.mp4_transcoded.mp4
                      -   20240915_0002_1404_802.mp4_transcoded.mp4
                      -   20240915_0002_1405_808.mp4_transcoded.mp4
                      -   20240915_0002_1406_812.mp4_transcoded.mp4
                      -   20240915_0002_1407_813.mp4_transcoded.mp4
                      -   20240915_0002_1408_819.mp4_transcoded.mp4
                      -   20240915_0002_1409_821.mp4_transcoded.mp4
                      -   20240915_0002_1410_825.mp4_transcoded.mp4
                      -   20240915_0002_1411_829.mp4_transcoded.mp4
                      -   20240915_0002_1412_834.mp4_transcoded.mp4
                      -   20240915_0002_1413_839.mp4_transcoded.mp4
                      -   20240915_0002_1414_843.mp4_transcoded.mp4
                      -   20240915_0002_1415_845.mp4_transcoded.mp4
                      -   20240915_0002_1416_851.mp4_transcoded.mp4
                                               24
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0002_1417_855.mp4_transcoded.mp4
                      -   20240915_0002_1418_859.mp4_transcoded.mp4
                      -   20240915_0002_1419_860.mp4_transcoded.mp4
                      -   20240915_0002_1420_864.mp4_transcoded.mp4
                      -   20240915_0002_1421_870.mp4_transcoded.mp4
                      -   20240915_0002_1422_872.mp4_transcoded.mp4
                      -   20240915_0002_1423_877.mp4_transcoded.mp4
                      -   20240915_0002_1424_881.mp4_transcoded.mp4
                      -   20240915_0002_1425_885.mp4_transcoded.mp4
                      -   20240915_0002_1426_891.mp4_transcoded.mp4
                      -   20240915_0002_1427_893.mp4_transcoded.mp4
                      -   20240915_0002_1428_897.mp4_transcoded.mp4
                      -   20240915_0002_1429_902.mp4_transcoded.mp4
                      -   20240915_0002_1430_903.mp4_transcoded.mp4
                      -   20240915_0002_1431_910.mp4_transcoded.mp4
                      -   20240915_0002_1432_914.mp4_transcoded.mp4
                      -   20240915_0002_1433_916.mp4_transcoded.mp4
                      -   20240915_0002_1434_919.mp4_transcoded.mp4
                      -   20240915_0002_1435_925.mp4_transcoded.mp4
                      -   20240915_0002_1436_930.mp4_transcoded.mp4
                      -   20240915_0002_1437_933.mp4_transcoded.mp4
                      -   20240915_0002_1438_938.mp4_transcoded.mp4
                      -   20240915_0002_1439_941.mp4_transcoded.mp4
                      -   20240915_0002_1542_1190.mp4_transcoded.mp4
                      -   20240915_0002_1543_1195.mp4_transcoded.mp4
                      -   20240915_0002_1544_1200.mp4_transcoded.mp4
                      -   20240915_0002_1545_1205.mp4_transcoded.mp4
                      -   20240915_0002_1546_1206.mp4_transcoded.mp4
                      -   20240915_0002_1547_1211.mp4_transcoded.mp4
                      -   20240915_0002_1548_1217.mp4_transcoded.mp4
                                               25
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0002_1549_1219.mp4_transcoded.mp4
                      -   20240915_0002_1550_1222.mp4_transcoded.mp4
                      -   20240915_0002_1551_1227.mp4_transcoded.mp4
                      -   20240915_0002_1552_1233.mp4_transcoded.mp4
                      -   20240915_0002_1553_1235.mp4_transcoded.mp4
                      -   20240915_0002_1554_1241.mp4_transcoded.mp4
                      -   20240915_0002_1555_1245.mp4_transcoded.mp4
                      -   20240915_0002_1556_1249.mp4_transcoded.mp4
                      -   20240915_0002_1557_1253.mp4_transcoded.mp4
                      -   20240915_0002_1558_1255.mp4_transcoded.mp4
                      -   20240915_0002_1559_1261.mp4_transcoded.mp4
                      -   20240915_0002_1600_1263.mp4_transcoded.mp4
                      -   20240915_0002_1601_1267.mp4_transcoded.mp4
                      -   20240915_0002_1602_1272.mp4_transcoded.mp4
                      -   20240915_0002_1603_1276.mp4_transcoded.mp4
                      -   20240915_0002_1604_1281.mp4_transcoded.mp4
                      -   20240915_0002_1605_1285.mp4_transcoded.mp4
                      -   20240915_0002_1606_1287.mp4_transcoded.mp4
                      -   20240915_0002_1607_1291.mp4_transcoded.mp4
                      -   20240915_0002_1608_1295.mp4_transcoded.mp4
                      -   20240915_0002_1609_1300.mp4_transcoded.mp4
                      -   20240915_0002_1610_1304.mp4_transcoded.mp4
                      -   20240915_0002_1611_1307.mp4_transcoded.mp4
                      -   20240915_0002_1612_1312.mp4_transcoded.mp4
                      -   20240915_0002_1613_1316.mp4_transcoded.mp4
                      -   20240915_0002_1614_1320.mp4_transcoded.mp4
                      -   20240915_0002_1615_1323.mp4_transcoded.mp4
                      -   20240915_0002_1616_1328.mp4_transcoded.mp4
                      -   20240915_0002_1617_1332.mp4_transcoded.mp4
                      -   20240915_0002_1618_1334.mp4_transcoded.mp4
                                               26
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0002_1619_1339.mp4_transcoded.mp4
                      -   20240915_0002_1620_1343.mp4_transcoded.mp4
                      -   20240915_0002_1621_1347.mp4_transcoded.mp4
                      -   20240915_0002_1622_1350.mp4_transcoded.mp4
                      -   20240915_0002_1623_1356.mp4_transcoded.mp4
                      -   20240915_0002_1624_1360.mp4_transcoded.mp4
                      -   20240915_0002_1625_1363.mp4_transcoded.mp4
                      -   20240915_0002_1626_1368.mp4_transcoded.mp4
                      -   20240915_0002_1627_1372.mp4_transcoded.mp4
                      -   20240915_0002_1628_1375.mp4_transcoded.mp4
                      -   20240915_0002_1629_1379.mp4_transcoded.mp4
                      -   20240915_0002_1630_1384.mp4_transcoded.mp4
                      -   20240915_0002_1631_1387.mp4_transcoded.mp4
                      -   20240915_0002_1632_1392.mp4_transcoded.mp4
                      -   20240915_0002_1633_1396.mp4_transcoded.mp4
                      -   20240915_0002_1634_1399.mp4_transcoded.mp4
                      -   20240915_0002_1635_1404.mp4_transcoded.mp4
                      -   20240915_0002_1636_1407.mp4_transcoded.mp4
                      -   20240915_0002_1637_1412.mp4_transcoded.mp4
                      -   20240915_0002_1638_1414.mp4_transcoded.mp4
                      -   20240915_0002_1639_1420.mp4_transcoded.mp4
                      -   20240915_0002_1640_1422.mp4_transcoded.mp4
                      -   20240915_0002_1641_1426.mp4_transcoded.mp4
                      -   20240915_0002_1642_1429.mp4_transcoded.mp4
                      -   20240915_0002_1643_1433.mp4_transcoded.mp4
                      -   20240915_0002_1644_1436.mp4_transcoded.mp4
                      -   20240915_0002_1645_1441.mp4_transcoded.mp4
                      -   20240915_0002_1646_1445.mp4_transcoded.mp4
                      -   20240915_0002_1647_1447.mp4_transcoded.mp4
                      -   20240915_0002_1648_1452.mp4_transcoded.mp4
                                               27
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0002_1649_1457.mp4_transcoded.mp4
                      -   20240915_0002_1650_1462.mp4_transcoded.mp4
                      -   20240915_0002_1651_1466.mp4_transcoded.mp4
                      -   20240915_0002_1652_1469.mp4_transcoded.mp4
                      -   20240915_0002_1653_1472.mp4_transcoded.mp4
                      -   20240915_0002_1654_1474.mp4_transcoded.mp4
                      -   20240915_0002_1655_1479.mp4_transcoded.mp4
                      -   20240915_0002_1656_1482.mp4_transcoded.mp4
                      -   20240915_0002_1657_1487.mp4_transcoded.mp4
                      -   20240915_0002_1658_1490.mp4_transcoded.mp4
                      -   20240915_0002_1659_1497.mp4_transcoded.mp4
                      -   20240915_0002_1700_1498.mp4_transcoded.mp4
                      -   20240915_0002_1701_1505.mp4_transcoded.mp4
                      -   20240915_0002_1702_1509.mp4_transcoded.mp4
                      -   20240915_0002_1703_1511.mp4_transcoded.mp4
                      -   20240915_0002_1704_1516.mp4_transcoded.mp4
                      -   20240915_0002_1705_1519.mp4_transcoded.mp4
                      -   20240915_0002_1706_1522.mp4_transcoded.mp4
                      -   20240915_0002_1707_1528.mp4_transcoded.mp4
                      -   20240915_0002_1708_1530.mp4_transcoded.mp4
                      -   20240915_0002_1709_1535.mp4_transcoded.mp4
                      -   20240915_0002_1710_1538.mp4_transcoded.mp4
                      -   20240915_0002_1711_1545.mp4_transcoded.mp4
                      -   20240915_0002_1712_1546.mp4_transcoded.mp4
                      -   20240915_0002_1713_1551.mp4_transcoded.mp4
                      -   20240915_0002_1714_1554.mp4_transcoded.mp4
                      -   20240915_0002_1715_1561.mp4_transcoded.mp4
                      -   20240915_0002_1716_1563.mp4_transcoded.mp4
                      -   20240915_0002_1717_1569.mp4_transcoded.mp4
                      -   20240915_0002_1718_1571.mp4_transcoded.mp4
                                               28
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0002_1719_1576.mp4_transcoded.mp4
                      -   20240915_0002_1720_1579.mp4_transcoded.mp4
                      -   20240915_0002_1721_1585.mp4_transcoded.mp4
                      -   20240915_0002_1722_1589.mp4_transcoded.mp4
                      -   20240915_0002_1723_1593.mp4_transcoded.mp4
                      -   20240915_0002_1724_1597.mp4_transcoded.mp4
                      -   20240915_0002_1725_1600.mp4_transcoded.mp4
                      -   20240915_0002_1726_1602.mp4_transcoded.mp4
                      -   20240915_0002_1727_1607.mp4_transcoded.mp4
                      -   20240915_0002_1728_1612.mp4_transcoded.mp4
                      -   20240915_0002_1729_1616.mp4_transcoded.mp4
                      -   20240915_0002_1730_1618.mp4_transcoded.mp4
                      -   20240915_0002_1731_1624.mp4_transcoded.mp4
                      -   20240915_0002_1732_1627.mp4_transcoded.mp4
                      -   20240915_0002_1733_1629.mp4_transcoded.mp4
                      -   20240915_0002_1734_1634.mp4_transcoded.mp4
                      -   20240915_0002_1735_1637.mp4_transcoded.mp4
                      -   20240915_0002_1736_1642.mp4_transcoded.mp4
                      -   20240915_0002_1737_1647.mp4_transcoded.mp4
                      -   20240915_0002_1738_1650.mp4_transcoded.mp4
                      -   20240915_0002_1739_1653.mp4_transcoded.mp4
                      -   20240915_0002_1740_1659.mp4_transcoded.mp4
                      -   20240915_0002_1741_1661.mp4_transcoded.mp4
                      -   20240915_0002_1742_1667.mp4_transcoded.mp4
                      -   20240915_0002_1743_1669.mp4_transcoded.mp4
                      -   20240915_0002_1744_1674.mp4_transcoded.mp4
                      -   20240915_0002_1745_1677.mp4_transcoded.mp4
                      -   20240915_0002_1746_1683.mp4_transcoded.mp4
                      -   20240915_0002_1747_1685.mp4_transcoded.mp4
                      -   20240915_0002_1748_1691.mp4_transcoded.mp4
                                               29
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0002_1749_1694.mp4_transcoded.mp4
                      -   20240915_0002_1750_1698.mp4_transcoded.mp4
                      -   20240915_0002_1751_1702.mp4_transcoded.mp4
                      -   20240915_0002_1752_1707.mp4_transcoded.mp4
                      -   20240915_0002_1753_1712.mp4_transcoded.mp4
                      -   20240915_0002_1754_1716.mp4_transcoded.mp4
                      -   20240915_0002_1755_1720.mp4_transcoded.mp4
                      -   20240915_0002_1756_1724.mp4_transcoded.mp4
                      -   20240915_0002_1757_1725.mp4_transcoded.mp4
                      -   20240915_0002_1758_1731.mp4_transcoded.mp4
                      -   20240915_0002_1759_1734.mp4_transcoded.mp4
                      -   20240915_0002_1800_1740.mp4_transcoded.mp4
                      -   20240915_0002_1801_1744.mp4_transcoded.mp4
                      -   20240915_0002_1802_1748.mp4_transcoded.mp4
                      -   20240915_0002_1803_1750.mp4_transcoded.mp4
                      -   20240915_0002_1804_1756.mp4_transcoded.mp4
                      -   20240915_0002_1805_1758.mp4_transcoded.mp4
                      -   20240915_0002_1806_1764.mp4_transcoded.mp4
                      -   20240915_0002_1807_1766.mp4_transcoded.mp4
                      -   20240915_0002_1808_1769.mp4_transcoded.mp4
                      -   20240915_0002_1809_1775.mp4_transcoded.mp4
                      -   20240915_0002_1810_1777.mp4_transcoded.mp4
                      -   20240915_0002_1811_1783.mp4_transcoded.mp4
                      -   20240915_0002_1812_1785.mp4_transcoded.mp4
                      -   20240915_0002_1813_1790.mp4_transcoded.mp4
                      -   20240915_0002_1814_1793.mp4_transcoded.mp4
                      -   20240915_0002_1815_1800.mp4_transcoded.mp4
                      -   20240915_0002_1816_1802.mp4_transcoded.mp4
                      -   20240915_0002_1817_1807.mp4_transcoded.mp4
                      -   20240915_0002_1818_1809.mp4_transcoded.mp4
                                               30
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0002_1819_1814.mp4_transcoded.mp4
                      -   20240915_0002_1820_1819.mp4_transcoded.mp4
                      -   20240915_0002_1821_1824.mp4_transcoded.mp4
                      -   20240915_0002_1822_1825.mp4_transcoded.mp4
                      -   20240915_0002_1823_1831.mp4_transcoded.mp4
                      -   20240915_0002_1824_1835.mp4_transcoded.mp4
                      -   20240915_0002_1825_1840.mp4_transcoded.mp4
                      -   20240915_0002_1826_1844.mp4_transcoded.mp4
                      -   20240915_0002_1827_1847.mp4_transcoded.mp4
                      -   20240915_0002_1828_1851.mp4_transcoded.mp4
                      -   20240915_0002_1829_1856.mp4_transcoded.mp4
                      -   20240915_0002_1830_1859.mp4_transcoded.mp4
                      -   20240915_0002_1831_1863.mp4_transcoded.mp4
                      -   20240915_0002_1832_1867.mp4_transcoded.mp4
                      -   20240915_0002_1833_1872.mp4_transcoded.mp4
                      -   20240915_0002_1834_1875.mp4_transcoded.mp4
                      -   20240915_0002_1835_1879.mp4_transcoded.mp4
                      -   20240915_0002_1836_1883.mp4_transcoded.mp4
                      -   20240915_0002_1837_1887.mp4_transcoded.mp4
                      -   20240915_0002_1838_1889.mp4_transcoded.mp4
                      -   20240915_0002_1839_1895.mp4_transcoded.mp4
                      -   20240915_0002_1840_1897.mp4_transcoded.mp4
                      -   20240915_0002_1841_1903.mp4_transcoded.mp4
                      -   20240915_0002_1842_1906.mp4_transcoded.mp4
                      -   20240915_0002_1843_1911.mp4_transcoded.mp4
                      -   20240915_0002_1844_1914.mp4_transcoded.mp4
                      -   20240915_0002_1845_1916.mp4_transcoded.mp4
                      -   20240915_0002_1846_1921.mp4_transcoded.mp4
                      -   20240915_0002_1847_1924.mp4_transcoded.mp4
                      -   20240915_0002_1848_1929.mp4_transcoded.mp4
                                               31
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0002_1849_1932.mp4_transcoded.mp4
                      -   20240915_0002_1850_1939.mp4_transcoded.mp4
                      -   20240915_0002_1851_1941.mp4_transcoded.mp4
                      -   20240915_0002_1852_1946.mp4_transcoded.mp4
                      -   20240915_0002_1853_1949.mp4_transcoded.mp4
                      -   20240915_0002_1854_1955.mp4_transcoded.mp4
                      -   20240915_0002_1855_1957.mp4_transcoded.mp4
                      -   20240915_0002_1856_1963.mp4_transcoded.mp4
                      -   20240915_0002_1857_1965.mp4_transcoded.mp4
                      -   20240915_0002_1858_1970.mp4_transcoded.mp4
                      -   20240915_0002_1859_1975.mp4_transcoded.mp4
                      -   20240915_0002_1900_1978.mp4_transcoded.mp4
                      -   20240915_0003_1100_101.mp4_transcoded.mp4
                      -   20240915_0003_1101_104.mp4_transcoded.mp4
                      -   20240915_0009_1858_1969.mp4_transcoded.mp4
                      -   20240915_0003_1102_110.mp4_transcoded.mp4
                      -   20240915_0003_1103_112.mp4_transcoded.mp4
                      -   20240915_0003_1104_117.mp4_transcoded.mp4
                      -   20240915_0003_1105_120.mp4_transcoded.mp4
                      -   20240915_0003_1106_124.mp4_transcoded.mp4
                      -   20240915_0003_1107_129.mp4_transcoded.mp4
                      -   20240915_0003_1108_133.mp4_transcoded.mp4
                      -   20240915_0003_1109_136.mp4_transcoded.mp4
                      -   20240915_0003_1110_138.mp4_transcoded.mp4
                      -   20240915_0003_1111_142.mp4_transcoded.mp4
                      -   20240915_0003_1112_146.mp4_transcoded.mp4
                      -   20240915_0003_1113_148.mp4_transcoded.mp4
                      -   20240915_0003_1114_152.mp4_transcoded.mp4
                      -   20240915_0003_1115_156.mp4_transcoded.mp4
                      -   20240915_0003_1116_160.mp4_transcoded.mp4
                                               32
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0003_1117_163.mp4_transcoded.mp4
                      -   20240915_0003_1118_168.mp4_transcoded.mp4
                      -   20240915_0003_1119_172.mp4_transcoded.mp4
                      -   20240915_0003_1120_176.mp4_transcoded.mp4
                      -   20240915_0003_1121_179.mp4_transcoded.mp4
                      -   20240915_0003_1122_183.mp4_transcoded.mp4
                      -   20240915_0003_1123_187.mp4_transcoded.mp4
                      -   20240915_0003_1124_192.mp4_transcoded.mp4
                      -   20240915_0003_1125_196.mp4_transcoded.mp4
                      -   20240915_0003_1126_199.mp4_transcoded.mp4
                      -   20240915_0003_1127_201.mp4_transcoded.mp4
                      -   20240915_0003_1128_205.mp4_transcoded.mp4
                      -   20240915_0003_1129_209.mp4_transcoded.mp4
                      -   20240915_0003_1130_215.mp4_transcoded.mp4
                      -   20240915_0003_1131_217.mp4_transcoded.mp4
                      -   20240915_0003_1132_223.mp4_transcoded.mp4
                      -   20240915_0003_1133_225.mp4_transcoded.mp4
                      -   20240915_0003_1134_229.mp4_transcoded.mp4
                      -   20240915_0003_1135_232.mp4_transcoded.mp4
                      -   20240915_0003_1136_235.mp4_transcoded.mp4
                      -   20240915_0003_1137_238.mp4_transcoded.mp4
                      -   20240915_0003_1138_242.mp4_transcoded.mp4
                      -   20240915_0003_1139_245.mp4_transcoded.mp4
                      -   20240915_0003_1140_249.mp4_transcoded.mp4
                      -   20240915_0003_1141_255.mp4_transcoded.mp4
                      -   20240915_0003_1142_256.mp4_transcoded.mp4
                      -   20240915_0003_1143_261.mp4_transcoded.mp4
                      -   20240915_0003_1144_264.mp4_transcoded.mp4
                      -   20240915_0003_1145_268.mp4_transcoded.mp4
                      -   20240915_0003_1146_272.mp4_transcoded.mp4
                                               33
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0003_1147_276.mp4_transcoded.mp4
                      -   20240915_0003_1148_279.mp4_transcoded.mp4
                      -   20240915_0003_1149_284.mp4_transcoded.mp4
                      -   20240915_0003_1150_290.mp4_transcoded.mp4
                      -   20240915_0003_1151_292.mp4_transcoded.mp4
                      -   20240915_0003_1152_294.mp4_transcoded.mp4
                      -   20240915_0003_1153_299.mp4_transcoded.mp4
                      -   20240915_0003_1154_302.mp4_transcoded.mp4
                      -   20240915_0003_1155_308.mp4_transcoded.mp4
                      -   20240915_0003_1156_311.mp4_transcoded.mp4
                      -   20240915_0003_1157_314.mp4_transcoded.mp4
                      -   20240915_0003_1158_318.mp4_transcoded.mp4
                      -   20240915_0003_1159_324.mp4_transcoded.mp4
                      -   20240915_0003_1200_326.mp4_transcoded.mp4
                      -   20240915_0003_1201_331.mp4_transcoded.mp4
                      -   20240915_0003_1202_333.mp4_transcoded.mp4
                      -   20240915_0003_1203_338.mp4_transcoded.mp4
                      -   20240915_0003_1204_342.mp4_transcoded.mp4
                      -   20240915_0003_1205_347.mp4_transcoded.mp4
                      -   20240915_0003_1206_350.mp4_transcoded.mp4
                      -   20240915_0003_1207_353.mp4_transcoded.mp4
                      -   20240915_0003_1208_357.mp4_transcoded.mp4
                      -   20240915_0003_1209_363.mp4_transcoded.mp4
                      -   20240915_0003_1210_366.mp4_transcoded.mp4
                      -   20240915_0003_1211_370.mp4_transcoded.mp4
                      -   20240915_0003_1212_373.mp4_transcoded.mp4
                      -   20240915_0003_1213_374.mp4_transcoded.mp4
                      -   20240915_0003_1214_378.mp4_transcoded.mp4
                      -   20240915_0003_1215_380.mp4_transcoded.mp4
                      -   20240915_0003_1216_386.mp4_transcoded.mp4
                                               34
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0003_1217_388.mp4_transcoded.mp4
                      -   20240915_0003_1218_392.mp4_transcoded.mp4
                      -   20240915_0003_1219_395.mp4_transcoded.mp4
                      -   20240915_0003_1220_399.mp4_transcoded.mp4
                      -   20240915_0003_1221_402.mp4_transcoded.mp4
                      -   20240915_0003_1222_409.mp4_transcoded.mp4
                      -   20240915_0003_1223_410.mp4_transcoded.mp4
                      -   20240915_0003_1224_417.mp4_transcoded.mp4
                      -   20240915_0003_1225_418.mp4_transcoded.mp4
                      -   20240915_0003_1226_424.mp4_transcoded.mp4
                      -   20240915_0003_1227_427.mp4_transcoded.mp4
                      -   20240915_0003_1228_432.mp4_transcoded.mp4
                      -   20240915_0003_1229_433.mp4_transcoded.mp4
                      -   20240915_0003_1230_439.mp4_transcoded.mp4
                      -   20240915_0003_1231_442.mp4_transcoded.mp4
                      -   20240915_0003_1232_448.mp4_transcoded.mp4
                      -   20240915_0003_1233_450.mp4_transcoded.mp4
                      -   20240915_0003_1234_455.mp4_transcoded.mp4
                      -   20240915_0003_1235_459.mp4_transcoded.mp4
                      -   20240915_0003_1236_464.mp4_transcoded.mp4
                      -   20240915_0003_1237_467.mp4_transcoded.mp4
                      -   20240915_0003_1238_472.mp4_transcoded.mp4
                      -   20240915_0003_1239_473.mp4_transcoded.mp4
                      -   20240915_0003_1240_479.mp4_transcoded.mp4
                      -   20240915_0003_1241_481.mp4_transcoded.mp4
                      -   20240915_0003_1242_487.mp4_transcoded.mp4
                      -   20240915_0003_1243_490.mp4_transcoded.mp4
                      -   20240915_0003_1244_495.mp4_transcoded.mp4
                      -   20240915_0003_1245_498.mp4_transcoded.mp4
                      -   20240915_0003_1246_504.mp4_transcoded.mp4
                                               35
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0003_1247_506.mp4_transcoded.mp4
                      -   20240915_0009_1236_461.mp4_transcoded.mp4
                      -   20240915_0009_1239_476.mp4_transcoded.mp4
                      -   20240915_0003_1248_511.mp4_transcoded.mp4
                      -   20240915_0003_1249_516.mp4_transcoded.mp4
                      -   20240915_0003_1250_518.mp4_transcoded.mp4
                      -   20240915_0003_1251_524.mp4_transcoded.mp4
                      -   20240915_0003_1252_526.mp4_transcoded.mp4
                      -   20240915_0003_1253_530.mp4_transcoded.mp4
                      -   20240915_0003_1254_533.mp4_transcoded.mp4
                      -   20240915_0003_1255_540.mp4_transcoded.mp4
                      -   20240915_0003_1256_541.mp4_transcoded.mp4
                      -   20240915_0003_1257_546.mp4_transcoded.mp4
                      -   20240915_0003_1258_548.mp4_transcoded.mp4
                      -   20240915_0003_1259_551.mp4_transcoded.mp4
                      -   20240915_0003_1300_556.mp4_transcoded.mp4
                      -   20240915_0003_1301_561.mp4_transcoded.mp4
                      -   20240915_0009_1251_521.mp4_transcoded.mp4
                      -   20240915_0009_1256_544.mp4_transcoded.mp4
                      -   20240915_0003_1302_562.mp4_transcoded.mp4
                      -   20240915_0003_1303_567.mp4_transcoded.mp4
                      -   20240915_0003_1304_570.mp4_transcoded.mp4
                      -   20240915_0003_1305_572.mp4_transcoded.mp4
                      -   20240915_0003_1306_577.mp4_transcoded.mp4
                      -   20240915_0003_1307_581.mp4_transcoded.mp4
                      -   20240915_0003_1308_586.mp4_transcoded.mp4
                      -   20240915_0003_1309_589.mp4_transcoded.mp4
                      -   20240915_0003_1310_593.mp4_transcoded.mp4
                      -   20240915_0003_1311_596.mp4_transcoded.mp4
                      -   20240915_0003_1312_599.mp4_transcoded.mp4
                                               36
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0003_1313_604.mp4_transcoded.mp4
                      -   20240915_0003_1314_608.mp4_transcoded.mp4
                      -   20240915_0003_1315_612.mp4_transcoded.mp4
                      -   20240915_0003_1316_616.mp4_transcoded.mp4
                      -   20240915_0003_1317_621.mp4_transcoded.mp4
                      -   20240915_0003_1318_625.mp4_transcoded.mp4
                      -   20240915_0003_1319_628.mp4_transcoded.mp4
                      -   20240915_0003_1320_630.mp4_transcoded.mp4
                      -   20240915_0003_1321_636.mp4_transcoded.mp4
                      -   20240915_0003_1322_638.mp4_transcoded.mp4
                      -   20240915_0003_1323_642.mp4_transcoded.mp4
                      -   20240915_0003_1324_645.mp4_transcoded.mp4
                      -   20240915_0003_1325_650.mp4_transcoded.mp4
                      -   20240915_0003_1326_655.mp4_transcoded.mp4
                      -   20240915_0003_1327_658.mp4_transcoded.mp4
                      -   20240915_0003_1328_662.mp4_transcoded.mp4
                      -   20240915_0003_1329_665.mp4_transcoded.mp4
                      -   20240915_0003_1330_670.mp4_transcoded.mp4
                      -   20240915_0003_1331_673.mp4_transcoded.mp4
                      -   20240915_0003_1332_679.mp4_transcoded.mp4
                      -   20240915_0003_1333_681.mp4_transcoded.mp4
                      -   20240915_0003_1334_686.mp4_transcoded.mp4
                      -   20240915_0003_1335_689.mp4_transcoded.mp4
                      -   20240915_0003_1336_694.mp4_transcoded.mp4
                      -   20240915_0003_1337_695.mp4_transcoded.mp4
                      -   20240915_0003_1338_701.mp4_transcoded.mp4
                      -   20240915_0003_1339_703.mp4_transcoded.mp4
                      -   20240915_0003_1340_708.mp4_transcoded.mp4
                      -   20240915_0003_1341_711.mp4_transcoded.mp4
                      -   20240915_0003_1342_716.mp4_transcoded.mp4
                                               37
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0003_1343_719.mp4_transcoded.mp4
                      -   20240915_0003_1344_724.mp4_transcoded.mp4
                      -   20240915_0003_1345_727.mp4_transcoded.mp4
                      -   20240915_0003_1346_733.mp4_transcoded.mp4
                      -   20240915_0003_1347_736.mp4_transcoded.mp4
                      -   20240915_0003_1348_741.mp4_transcoded.mp4
                      -   20240915_0003_1349_744.mp4_transcoded.mp4
                      -   20240915_0003_1350_749.mp4_transcoded.mp4
                      -   20240915_0003_1351_752.mp4_transcoded.mp4
                      -   20240915_0003_1352_755.mp4_transcoded.mp4
                      -   20240915_0003_1353_759.mp4_transcoded.mp4
                      -   20240915_0003_1354_763.mp4_transcoded.mp4
                      -   20240915_0003_1355_768.mp4_transcoded.mp4
                      -   20240915_0003_1356_771.mp4_transcoded.mp4
                      -   20240915_0003_1357_775.mp4_transcoded.mp4
                      -   20240915_0003_1358_780.mp4_transcoded.mp4
                      -   20240915_0003_1359_782.mp4_transcoded.mp4
                      -   20240915_0003_1400_788.mp4_transcoded.mp4
                      -   20240915_0003_1401_791.mp4_transcoded.mp4
                      -   20240915_0003_1402_796.mp4_transcoded.mp4
                      -   20240915_0003_1403_799.mp4_transcoded.mp4
                      -   20240915_0003_1404_804.mp4_transcoded.mp4
                      -   20240915_0009_1404_801.mp4_transcoded.mp4
                      -   20240915_0003_1405_807.mp4_transcoded.mp4
                      -   20240915_0003_1406_810.mp4_transcoded.mp4
                      -   20240915_0003_1407_816.mp4_transcoded.mp4
                      -   20240915_0003_1408_818.mp4_transcoded.mp4
                      -   20240915_0003_1409_823.mp4_transcoded.mp4
                      -   20240915_0003_1410_824.mp4_transcoded.mp4
                      -   20240915_0003_1411_831.mp4_transcoded.mp4
                                               38
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0003_1412_832.mp4_transcoded.mp4
                      -   20240915_0003_1413_838.mp4_transcoded.mp4
                      -   20240915_0003_1414_841.mp4_transcoded.mp4
                      -   20240915_0003_1415_846.mp4_transcoded.mp4
                      -   20240915_0003_1416_849.mp4_transcoded.mp4
                      -   20240915_0003_1417_853.mp4_transcoded.mp4
                      -   20240915_0003_1418_856.mp4_transcoded.mp4
                      -   20240915_0003_1419_861.mp4_transcoded.mp4
                      -   20240915_0003_1420_865.mp4_transcoded.mp4
                      -   20240915_0003_1421_868.mp4_transcoded.mp4
                      -   20240915_0003_1422_873.mp4_transcoded.mp4
                      -   20240915_0003_1423_878.mp4_transcoded.mp4
                      -   20240915_0003_1424_880.mp4_transcoded.mp4
                      -   20240915_0003_1425_886.mp4_transcoded.mp4
                      -   20240915_0003_1426_890.mp4_transcoded.mp4
                      -   20240915_0003_1427_894.mp4_transcoded.mp4
                      -   20240915_0003_1428_896.mp4_transcoded.mp4
                      -   20240915_0003_1429_901.mp4_transcoded.mp4
                      -   20240915_0003_1430_906.mp4_transcoded.mp4
                      -   20240915_0003_1431_909.mp4_transcoded.mp4
                      -   20240915_0009_1500_1022.mp4_transcoded.mp4
                      -   20240915_0009_1501_1028.mp4_transcoded.mp4
                      -   20240915_0009_1502_1030.mp4_transcoded.mp4
                      -   20240915_0009_1503_1035.mp4_transcoded.mp4
                      -   20240915_0009_1504_1038.mp4_transcoded.mp4
                      -   20240915_0009_1505_1043.mp4_transcoded.mp4
                      -   20240915_0003_1432_913.mp4_transcoded.mp4
                      -   20240915_0003_1433_917.mp4_transcoded.mp4
                      -   20240915_0003_1434_922.mp4_transcoded.mp4
                      -   20240915_0003_1435_924.mp4_transcoded.mp4
                                               39
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0003_1436_927.mp4_transcoded.mp4
                      -   20240915_0003_1437_934.mp4_transcoded.mp4
                      -   20240915_0009_1353_760.mp4_transcoded.mp4
                      -   20240915_0009_1354_761.mp4_transcoded.mp4
                      -   20240915_0009_1355_766.mp4_transcoded.mp4
                      -   20240915_0009_1356_769.mp4_transcoded.mp4
                      -   20240915_0009_1357_774.mp4_transcoded.mp4
                      -   20240915_0009_1358_778.mp4_transcoded.mp4
                      -   20240915_0009_1359_781.mp4_transcoded.mp4
                      -   20240915_0009_1400_786.mp4_transcoded.mp4
                      -   20240915_0009_1401_789.mp4_transcoded.mp4
                      -   20240915_0009_1402_794.mp4_transcoded.mp4
                      -   20240915_0009_1403_797.mp4_transcoded.mp4
                      -   20240915_0009_1405_805.mp4_transcoded.mp4
                      -   20240915_0009_1406_811.mp4_transcoded.mp4
                      -   20240915_0009_1407_814.mp4_transcoded.mp4
                      -   20240915_0009_1408_820.mp4_transcoded.mp4
                      -   20240915_0009_1409_822.mp4_transcoded.mp4
                      -   20240915_0009_1410_827.mp4_transcoded.mp4
                      -   20240915_0009_1411_828.mp4_transcoded.mp4
                      -   20240915_0009_1412_833.mp4_transcoded.mp4
                      -   20240915_0009_1413_836.mp4_transcoded.mp4
                      -   20240915_0009_1414_842.mp4_transcoded.mp4
                      -   20240915_0009_1415_844.mp4_transcoded.mp4
                      -   20240915_0009_1416_850.mp4_transcoded.mp4
                      -   20240915_0009_1417_852.mp4_transcoded.mp4
                      -   20240915_0009_1418_857.mp4_transcoded.mp4
                      -   20240915_0009_1419_863.mp4_transcoded.mp4
                      -   20240915_0009_1420_866.mp4_transcoded.mp4
                      -   20240915_0009_1421_869.mp4_transcoded.mp4
                                               40
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0009_1422_874.mp4_transcoded.mp4
                      -   20240915_0009_1423_876.mp4_transcoded.mp4
                      -   20240915_0009_1424_882.mp4_transcoded.mp4
                      -   20240915_0009_1425_884.mp4_transcoded.mp4
                      -   20240915_0009_1426_888.mp4_transcoded.mp4
                      -   20240915_0009_1427_892.mp4_transcoded.mp4
                      -   20240915_0009_1428_895.mp4_transcoded.mp4
                      -   20240915_0009_1429_899.mp4_transcoded.mp4
                      -   20240915_0009_1430_904.mp4_transcoded.mp4
                      -   20240915_0009_1431_907.mp4_transcoded.mp4
                      -   20240915_0009_1432_911.mp4_transcoded.mp4
                      -   20240915_0009_1433_915.mp4_transcoded.mp4
                      -   20240915_0009_1434_920.mp4_transcoded.mp4
                      -   20240915_0009_1435_923.mp4_transcoded.mp4
                      -   20240915_0009_1436_929.mp4_transcoded.mp4
                      -   20240915_0009_1437_932.mp4_transcoded.mp4
                      -   20240915_0009_1438_935.mp4_transcoded.mp4
                      -   20240915_0009_1439_940.mp4_transcoded.mp4
                      -   20240915_0009_1440_943.mp4_transcoded.mp4
                      -   20240915_0009_1441_948.mp4_transcoded.mp4
                      -   20240915_0009_1442_954.mp4_transcoded.mp4
                      -   20240915_0009_1443_958.mp4_transcoded.mp4
                      -   20240915_0009_1444_959.mp4_transcoded.mp4
                      -   20240915_0009_1445_964.mp4_transcoded.mp4
                      -   20240915_0009_1446_967.mp4_transcoded.mp4
                      -   20240915_0009_1447_973.mp4_transcoded.mp4
                      -   20240915_0009_1448_976.mp4_transcoded.mp4
                      -   20240915_0009_1449_981.mp4_transcoded.mp4
                      -   20240915_0009_1450_984.mp4_transcoded.mp4
                      -   20240915_0009_1451_989.mp4_transcoded.mp4
                                               41
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0009_1452_992.mp4_transcoded.mp4
                      -   20240915_0009_1453_997.mp4_transcoded.mp4
                      -   20240915_0009_1454_999.mp4_transcoded.mp4
                      -   20240915_0009_1455_1004.mp4_transcoded.mp4
                      -   20240915_0009_1456_1007.mp4_transcoded.mp4
                      -   20240915_0009_1457_1012.mp4_transcoded.mp4
                      -   20240915_0009_1458_1018.mp4_transcoded.mp4
                      -   20240915_0009_1459_1021.mp4_transcoded.mp4
                      -   20240915_0003_1438_936.mp4_transcoded.mp4
                      -   20240915_0003_1439_942.mp4_transcoded.mp4
                      -   20240915_0003_1440_945.mp4_transcoded.mp4
                      -   20240915_0003_1441_950.mp4_transcoded.mp4
                      -   20240915_0009_1243_491.mp4_transcoded.mp4
                      -   20240915_0009_1244_493.mp4_transcoded.mp4
                      -   20240915_0009_1245_499.mp4_transcoded.mp4
                      -   20240915_0009_1246_502.mp4_transcoded.mp4
                      -   20240915_0009_1247_507.mp4_transcoded.mp4
                      -   20240915_0009_1248_509.mp4_transcoded.mp4
                      -   20240915_0009_1249_514.mp4_transcoded.mp4
                      -   20240915_0009_1250_519.mp4_transcoded.mp4
                      -   20240915_0009_1252_528.mp4_transcoded.mp4
                      -   20240915_0009_1253_529.mp4_transcoded.mp4
                      -   20240915_0009_1254_534.mp4_transcoded.mp4
                      -   20240915_0009_1255_537.mp4_transcoded.mp4
                      -   20240915_0009_1257_547.mp4_transcoded.mp4
                      -   20240915_0009_1258_549.mp4_transcoded.mp4
                      -   20240915_0009_1259_552.mp4_transcoded.mp4
                      -   20240915_0009_1300_557.mp4_transcoded.mp4
                      -   20240915_0009_1301_559.mp4_transcoded.mp4
                      -   20240915_0009_1302_565.mp4_transcoded.mp4
                                               42
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0009_1303_568.mp4_transcoded.mp4
                      -   20240915_0009_1304_571.mp4_transcoded.mp4
                      -   20240915_0009_1305_573.mp4_transcoded.mp4
                      -   20240915_0009_1306_578.mp4_transcoded.mp4
                      -   20240915_0009_1307_582.mp4_transcoded.mp4
                      -   20240915_0009_1308_585.mp4_transcoded.mp4
                      -   20240915_0009_1309_587.mp4_transcoded.mp4
                      -   20240915_0009_1310_594.mp4_transcoded.mp4
                      -   20240915_0009_1311_595.mp4_transcoded.mp4
                      -   20240915_0009_1312_600.mp4_transcoded.mp4
                      -   20240915_0009_1313_602.mp4_transcoded.mp4
                      -   20240915_0009_1314_607.mp4_transcoded.mp4
                      -   20240915_0009_1315_610.mp4_transcoded.mp4
                      -   20240915_0009_1316_615.mp4_transcoded.mp4
                      -   20240915_0009_1317_618.mp4_transcoded.mp4
                      -   20240915_0009_1318_623.mp4_transcoded.mp4
                      -   20240915_0009_1319_626.mp4_transcoded.mp4
                      -   20240915_0009_1320_631.mp4_transcoded.mp4
                      -   20240915_0009_1321_634.mp4_transcoded.mp4
                      -   20240915_0009_1322_640.mp4_transcoded.mp4
                      -   20240915_0009_1323_641.mp4_transcoded.mp4
                      -   20240915_0009_1324_646.mp4_transcoded.mp4
                      -   20240915_0009_1325_651.mp4_transcoded.mp4
                      -   20240915_0009_1326_653.mp4_transcoded.mp4
                      -   20240915_0009_1327_656.mp4_transcoded.mp4
                      -   20240915_0009_1328_663.mp4_transcoded.mp4
                      -   20240915_0009_1329_666.mp4_transcoded.mp4
                      -   20240915_0009_1330_668.mp4_transcoded.mp4
                      -   20240915_0009_1331_674.mp4_transcoded.mp4
                      -   20240915_0009_1332_677.mp4_transcoded.mp4
                                               43
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0009_1333_682.mp4_transcoded.mp4
                      -   20240915_0009_1334_684.mp4_transcoded.mp4
                      -   20240915_0009_1335_690.mp4_transcoded.mp4
                      -   20240915_0009_1336_692.mp4_transcoded.mp4
                      -   20240915_0009_1337_696.mp4_transcoded.mp4
                      -   20240915_0009_1338_699.mp4_transcoded.mp4
                      -   20240915_0009_1339_705.mp4_transcoded.mp4
                      -   20240915_0009_1340_706.mp4_transcoded.mp4
                      -   20240915_0009_1341_712.mp4_transcoded.mp4
                      -   20240915_0009_1342_714.mp4_transcoded.mp4
                      -   20240915_0009_1343_720.mp4_transcoded.mp4
                      -   20240915_0009_1344_722.mp4_transcoded.mp4
                      -   20240915_0009_1345_728.mp4_transcoded.mp4
                      -   20240915_0009_1346_730.mp4_transcoded.mp4
                      -   20240915_0009_1347_735.mp4_transcoded.mp4
                      -   20240915_0009_1348_738.mp4_transcoded.mp4
                      -   20240915_0009_1349_743.mp4_transcoded.mp4
                      -   20240915_0009_1350_746.mp4_transcoded.mp4
                      -   20240915_0009_1351_751.mp4_transcoded.mp4
                      -   20240915_0009_1352_756.mp4_transcoded.mp4
                      -   20240915_0003_1442_952.mp4_transcoded.mp4
                      -   20240915_0003_1819_1815.mp4_transcoded.mp4
                      -   20240915_0003_1820_1818.mp4_transcoded.mp4
                      -   20240915_0003_1821_1823.mp4_transcoded.mp4
                      -   20240915_0003_1822_1827.mp4_transcoded.mp4
                      -   20240915_0003_1823_1832.mp4_transcoded.mp4
                      -   20240915_0003_1824_1834.mp4_transcoded.mp4
                      -   20240915_0003_1825_1839.mp4_transcoded.mp4
                      -   20240915_0003_1826_1843.mp4_transcoded.mp4
                      -   20240915_0003_1827_1848.mp4_transcoded.mp4
                                               44
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0003_1828_1852.mp4_transcoded.mp4
                      -   20240915_0003_1829_1855.mp4_transcoded.mp4
                      -   20240915_0003_1830_1860.mp4_transcoded.mp4
                      -   20240915_0003_1831_1864.mp4_transcoded.mp4
                      -   20240915_0003_1832_1868.mp4_transcoded.mp4
                      -   20240915_0003_1833_1869.mp4_transcoded.mp4
                      -   20240915_0003_1834_1876.mp4_transcoded.mp4
                      -   20240915_0003_1835_1877.mp4_transcoded.mp4
                      -   20240915_0003_1836_1884.mp4_transcoded.mp4
                      -   20240915_0003_1837_1885.mp4_transcoded.mp4
                      -   20240915_0003_1838_1890.mp4_transcoded.mp4
                      -   20240915_0003_1839_1892.mp4_transcoded.mp4
                      -   20240915_0003_1840_1898.mp4_transcoded.mp4
                      -   20240915_0003_1841_1900.mp4_transcoded.mp4
                      -   20240915_0003_1842_1907.mp4_transcoded.mp4
                      -   20240915_0003_1843_1909.mp4_transcoded.mp4
                      -   20240915_0003_1844_1915.mp4_transcoded.mp4
                      -   20240915_0003_1845_1918.mp4_transcoded.mp4
                      -   20240915_0003_1846_1922.mp4_transcoded.mp4
                      -   20240915_0003_1847_1926.mp4_transcoded.mp4
                      -   20240915_0003_1848_1930.mp4_transcoded.mp4
                      -   20240915_0003_1849_1934.mp4_transcoded.mp4
                      -   20240915_0003_1850_1938.mp4_transcoded.mp4
                      -   20240915_0003_1851_1943.mp4_transcoded.mp4
                      -   20240915_0003_1852_1947.mp4_transcoded.mp4
                      -   20240915_0003_1853_1951.mp4_transcoded.mp4
                      -   20240915_0003_1854_1952.mp4_transcoded.mp4
                      -   20240915_0003_1855_1959.mp4_transcoded.mp4
                      -   20240915_0003_1856_1960.mp4_transcoded.mp4
                      -   20240915_0003_1857_1967.mp4_transcoded.mp4
                                               45
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0003_1858_1968.mp4_transcoded.mp4
                      -   20240915_0003_1859_1974.mp4_transcoded.mp4
                      -   20240915_0003_1900_1976.mp4_transcoded.mp4
                      -   20240915_0009_1100_100.mp4_transcoded.mp4
                      -   20240915_0009_1101_105.mp4_transcoded.mp4
                      -   20240915_0009_1102_108.mp4_transcoded.mp4
                      -   20240915_0009_1103_113.mp4_transcoded.mp4
                      -   20240915_0009_1104_118.mp4_transcoded.mp4
                      -   20240915_0009_1105_121.mp4_transcoded.mp4
                      -   20240915_0009_1106_126.mp4_transcoded.mp4
                      -   20240915_0009_1107_130.mp4_transcoded.mp4
                      -   20240915_0009_1108_132.mp4_transcoded.mp4
                      -   20240915_0009_1109_137.mp4_transcoded.mp4
                      -   20240915_0009_1222_407.mp4_transcoded.mp4
                      -   20240915_0009_1223_411.mp4_transcoded.mp4
                      -   20240915_0009_1224_415.mp4_transcoded.mp4
                      -   20240915_0009_1225_419.mp4_transcoded.mp4
                      -   20240915_0009_1226_423.mp4_transcoded.mp4
                      -   20240915_0009_1227_428.mp4_transcoded.mp4
                      -   20240915_0009_1228_431.mp4_transcoded.mp4
                      -   20240915_0009_1229_434.mp4_transcoded.mp4
                      -   20240915_0009_1230_438.mp4_transcoded.mp4
                      -   20240915_0009_1231_441.mp4_transcoded.mp4
                      -   20240915_0009_1232_446.mp4_transcoded.mp4
                      -   20240915_0009_1233_449.mp4_transcoded.mp4
                      -   20240915_0009_1234_453.mp4_transcoded.mp4
                      -   20240915_0009_1235_458.mp4_transcoded.mp4
                      -   20240915_0009_1237_466.mp4_transcoded.mp4
                      -   20240915_0009_1238_469.mp4_transcoded.mp4
                      -   20240915_0009_1240_478.mp4_transcoded.mp4
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0009_1241_482.mp4_transcoded.mp4
                      -   20240915_0009_1242_486.mp4_transcoded.mp4
                      -   20240915_0003_1443_956.mp4_transcoded.mp4
                      -   20240915_0003_1444_960.mp4_transcoded.mp4
                      -   20240915_0003_1445_963.mp4_transcoded.mp4
                      -   20240915_0003_1446_970.mp4_transcoded.mp4
                      -   20240915_0003_1447_972.mp4_transcoded.mp4
                      -   20240915_0003_1448_978.mp4_transcoded.mp4
                      -   20240915_0003_1449_980.mp4_transcoded.mp4
                      -   20240915_0003_1450_986.mp4_transcoded.mp4
                      -   20240915_0003_1451_988.mp4_transcoded.mp4
                      -   20240915_0003_1452_993.mp4_transcoded.mp4
                      -   20240915_0003_1453_996.mp4_transcoded.mp4
                      -   20240915_0003_1454_1001.mp4_transcoded.mp4
                      -   20240915_0003_1455_1003.mp4_transcoded.mp4
                      -   20240915_0003_1456_1008.mp4_transcoded.mp4
                      -   20240915_0003_1609_1297.mp4_transcoded.mp4
                      -   20240915_0003_1610_1302.mp4_transcoded.mp4
                      -   20240915_0003_1611_1305.mp4_transcoded.mp4
                      -   20240915_0003_1612_1309.mp4_transcoded.mp4
                      -   20240915_0003_1613_1313.mp4_transcoded.mp4
                      -   20240915_0003_1614_1318.mp4_transcoded.mp4
                      -   20240915_0003_1615_1321.mp4_transcoded.mp4
                      -   20240915_0003_1616_1326.mp4_transcoded.mp4
                      -   20240915_0003_1617_1329.mp4_transcoded.mp4
                      -   20240915_0003_1618_1335.mp4_transcoded.mp4
                      -   20240915_0003_1619_1340.mp4_transcoded.mp4
                      -   20240915_0003_1620_1344.mp4_transcoded.mp4
                      -   20240915_0003_1621_1348.mp4_transcoded.mp4
                      -   20240915_0003_1622_1351.mp4_transcoded.mp4
                                               47
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                                       Data Size: 469 GB

FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0003_1623_1354.mp4_transcoded.mp4
                      -   20240915_0003_1624_1359.mp4_transcoded.mp4
                      -   20240915_0003_1625_1361.mp4_transcoded.mp4
                      -   20240915_0003_1626_1366.mp4_transcoded.mp4
                      -   20240915_0003_1627_1369.mp4_transcoded.mp4
                      -   20240915_0003_1628_1376.mp4_transcoded.mp4
                      -   20240915_0003_1629_1378.mp4_transcoded.mp4
                      -   20240915_0003_1630_1383.mp4_transcoded.mp4
                      -   20240915_0003_1631_1386.mp4_transcoded.mp4
                      -   20240915_0003_1632_1391.mp4_transcoded.mp4
                      -   20240915_0003_1633_1395.mp4_transcoded.mp4
                      -   20240915_0003_1634_1398.mp4_transcoded.mp4
                      -   20240915_0003_1635_1402.mp4_transcoded.mp4
                      -   20240915_0003_1748_1692.mp4_transcoded.mp4
                      -   20240915_0003_1749_1695.mp4_transcoded.mp4
                      -   20240915_0003_1750_1699.mp4_transcoded.mp4
                      -   20240915_0003_1751_1703.mp4_transcoded.mp4
                      -   20240915_0003_1752_1708.mp4_transcoded.mp4
                      -   20240915_0003_1753_1711.mp4_transcoded.mp4
                      -   20240915_0003_1754_1713.mp4_transcoded.mp4
                      -   20240915_0003_1755_1719.mp4_transcoded.mp4
                      -   20240915_0003_1756_1721.mp4_transcoded.mp4
                      -   20240915_0003_1757_1727.mp4_transcoded.mp4
                      -   20240915_0003_1758_1729.mp4_transcoded.mp4
                      -   20240915_0003_1759_1736.mp4_transcoded.mp4
                      -   20240915_0003_1800_1737.mp4_transcoded.mp4
                      -   20240915_0003_1801_1743.mp4_transcoded.mp4
                      -   20240915_0003_1802_1745.mp4_transcoded.mp4
                      -   20240915_0003_1803_1752.mp4_transcoded.mp4
                      -   20240915_0003_1804_1753.mp4_transcoded.mp4
                                               48
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0003_1805_1760.mp4_transcoded.mp4
                      -   20240915_0003_1806_1763.mp4_transcoded.mp4
                      -   20240915_0003_1807_1767.mp4_transcoded.mp4
                      -   20240915_0003_1808_1770.mp4_transcoded.mp4
                      -   20240915_0003_1809_1776.mp4_transcoded.mp4
                      -   20240915_0003_1810_1778.mp4_transcoded.mp4
                      -   20240915_0003_1811_1784.mp4_transcoded.mp4
                      -   20240915_0003_1812_1787.mp4_transcoded.mp4
                      -   20240915_0003_1813_1791.mp4_transcoded.mp4
                      -   20240915_0003_1814_1795.mp4_transcoded.mp4
                      -   20240915_0003_1815_1799.mp4_transcoded.mp4
                      -   20240915_0003_1816_1804.mp4_transcoded.mp4
                      -   20240915_0003_1817_1808.mp4_transcoded.mp4
                      -   20240915_0003_1818_1811.mp4_transcoded.mp4
                      -   20240915_0003_1457_1011.mp4_transcoded.mp4
                      -   20240915_0003_1458_1016.mp4_transcoded.mp4
                      -   20240915_0003_1459_1020.mp4_transcoded.mp4
                      -   20240915_0003_1500_1024.mp4_transcoded.mp4
                      -   20240915_0003_1501_1027.mp4_transcoded.mp4
                      -   20240915_0003_1502_1033.mp4_transcoded.mp4
                      -   20240915_0003_1503_1034.mp4_transcoded.mp4
                      -   20240915_0003_1504_1040.mp4_transcoded.mp4
                      -   20240915_0003_1505_1045.mp4_transcoded.mp4
                      -   20240915_0003_1506_1049.mp4_transcoded.mp4
                      -   20240915_0003_1507_1053.mp4_transcoded.mp4
                      -   20240915_0003_1508_1056.mp4_transcoded.mp4
                      -   20240915_0003_1509_1060.mp4_transcoded.mp4
                      -   20240915_0003_1510_1064.mp4_transcoded.mp4
                      -   20240915_0003_1511_1069.mp4_transcoded.mp4
                      -   20240915_0003_1512_1071.mp4_transcoded.mp4
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0003_1513_1076.mp4_transcoded.mp4
                      -   20240915_0003_1514_1081.mp4_transcoded.mp4
                      -   20240915_0003_1515_1084.mp4_transcoded.mp4
                      -   20240915_0003_1516_1088.mp4_transcoded.mp4
                      -   20240915_0003_1517_1092.mp4_transcoded.mp4
                      -   20240915_0003_1518_1096.mp4_transcoded.mp4
                      -   20240915_0003_1519_1100.mp4_transcoded.mp4
                      -   20240915_0003_1520_1104.mp4_transcoded.mp4
                      -   20240915_0003_1521_1107.mp4_transcoded.mp4
                      -   20240915_0003_1522_1113.mp4_transcoded.mp4
                      -   20240915_0003_1523_1115.mp4_transcoded.mp4
                      -   20240915_0003_1524_1119.mp4_transcoded.mp4
                      -   20240915_0003_1525_1124.mp4_transcoded.mp4
                      -   20240915_0003_1526_1126.mp4_transcoded.mp4
                      -   20240915_0003_1527_1132.mp4_transcoded.mp4
                      -   20240915_0003_1528_1134.mp4_transcoded.mp4
                      -   20240915_0003_1529_1140.mp4_transcoded.mp4
                      -   20240915_0003_1530_1143.mp4_transcoded.mp4
                      -   20240915_0003_1531_1148.mp4_transcoded.mp4
                      -   20240915_0003_1532_1150.mp4_transcoded.mp4
                      -   20240915_0003_1533_1155.mp4_transcoded.mp4
                      -   20240915_0003_1534_1158.mp4_transcoded.mp4
                      -   20240915_0003_1535_1164.mp4_transcoded.mp4
                      -   20240915_0003_1536_1167.mp4_transcoded.mp4
                      -   20240915_0003_1537_1172.mp4_transcoded.mp4
                      -   20240915_0003_1538_1174.mp4_transcoded.mp4
                      -   20240915_0003_1539_1180.mp4_transcoded.mp4
                      -   20240915_0003_1540_1183.mp4_transcoded.mp4
                      -   20240915_0003_1541_1188.mp4_transcoded.mp4
                      -   20240915_0003_1542_1192.mp4_transcoded.mp4
                                               50
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0003_1543_1197.mp4_transcoded.mp4
                      -   20240915_0003_1544_1198.mp4_transcoded.mp4
                      -   20240915_0003_1545_1203.mp4_transcoded.mp4
                      -   20240915_0003_1546_1209.mp4_transcoded.mp4
                      -   20240915_0003_1547_1213.mp4_transcoded.mp4
                      -   20240915_0003_1548_1216.mp4_transcoded.mp4
                      -   20240915_0003_1549_1220.mp4_transcoded.mp4
                      -   20240915_0003_1550_1224.mp4_transcoded.mp4
                      -   20240915_0003_1551_1228.mp4_transcoded.mp4
                      -   20240915_0003_1552_1231.mp4_transcoded.mp4
                      -   20240915_0003_1553_1236.mp4_transcoded.mp4
                      -   20240915_0003_1554_1238.mp4_transcoded.mp4
                      -   20240915_0003_1555_1244.mp4_transcoded.mp4
                      -   20240915_0003_1556_1247.mp4_transcoded.mp4
                      -   20240915_0003_1557_1252.mp4_transcoded.mp4
                      -   20240915_0003_1558_1256.mp4_transcoded.mp4
                      -   20240915_0003_1559_1260.mp4_transcoded.mp4
                      -   20240915_0003_1600_1265.mp4_transcoded.mp4
                      -   20240915_0003_1601_1266.mp4_transcoded.mp4
                      -   20240915_0003_1602_1270.mp4_transcoded.mp4
                      -   20240915_0003_1603_1274.mp4_transcoded.mp4
                      -   20240915_0003_1604_1280.mp4_transcoded.mp4
                      -   20240915_0003_1605_1283.mp4_transcoded.mp4
                      -   20240915_0003_1606_1288.mp4_transcoded.mp4
                      -   20240915_0003_1607_1290.mp4_transcoded.mp4
                      -   20240915_0003_1608_1294.mp4_transcoded.mp4
                      -   20240915_0003_1636_1408.mp4_transcoded.mp4
                      -   20240915_0003_1637_1411.mp4_transcoded.mp4
                      -   20240915_0003_1638_1416.mp4_transcoded.mp4
                      -   20240915_0003_1639_1419.mp4_transcoded.mp4
                                               51
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0003_1640_1423.mp4_transcoded.mp4
                      -   20240915_0003_1641_1427.mp4_transcoded.mp4
                      -   20240915_0003_1642_1430.mp4_transcoded.mp4
                      -   20240915_0003_1643_1434.mp4_transcoded.mp4
                      -   20240915_0003_1644_1437.mp4_transcoded.mp4
                      -   20240915_0003_1645_1440.mp4_transcoded.mp4
                      -   20240915_0003_1646_1443.mp4_transcoded.mp4
                      -   20240915_0003_1647_1449.mp4_transcoded.mp4
                      -   20240915_0003_1648_1453.mp4_transcoded.mp4
                      -   20240915_0003_1649_1456.mp4_transcoded.mp4
                      -   20240915_0003_1650_1459.mp4_transcoded.mp4
                      -   20240915_0003_1651_1464.mp4_transcoded.mp4
                      -   20240915_0003_1652_1467.mp4_transcoded.mp4
                      -   20240915_0003_1653_1471.mp4_transcoded.mp4
                      -   20240915_0003_1654_1475.mp4_transcoded.mp4
                      -   20240915_0003_1655_1480.mp4_transcoded.mp4
                      -   20240915_0003_1656_1483.mp4_transcoded.mp4
                      -   20240915_0003_1657_1489.mp4_transcoded.mp4
                      -   20240915_0003_1658_1493.mp4_transcoded.mp4
                      -   20240915_0003_1659_1496.mp4_transcoded.mp4
                      -   20240915_0003_1700_1500.mp4_transcoded.mp4
                      -   20240915_0003_1701_1504.mp4_transcoded.mp4
                      -   20240915_0003_1702_1507.mp4_transcoded.mp4
                      -   20240915_0003_1703_1513.mp4_transcoded.mp4
                      -   20240915_0003_1704_1515.mp4_transcoded.mp4
                      -   20240915_0003_1705_1520.mp4_transcoded.mp4
                      -   20240915_0003_1706_1525.mp4_transcoded.mp4
                      -   20240915_0003_1707_1527.mp4_transcoded.mp4
                      -   20240915_0003_1708_1531.mp4_transcoded.mp4
                      -   20240915_0003_1709_1536.mp4_transcoded.mp4
                                               52
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0003_1710_1539.mp4_transcoded.mp4
                      -   20240915_0003_1711_1544.mp4_transcoded.mp4
                      -   20240915_0003_1712_1547.mp4_transcoded.mp4
                      -   20240915_0003_1713_1552.mp4_transcoded.mp4
                      -   20240915_0003_1714_1556.mp4_transcoded.mp4
                      -   20240915_0003_1715_1559.mp4_transcoded.mp4
                      -   20240915_0003_1716_1565.mp4_transcoded.mp4
                      -   20240915_0003_1717_1566.mp4_transcoded.mp4
                      -   20240915_0003_1718_1572.mp4_transcoded.mp4
                      -   20240915_0003_1719_1574.mp4_transcoded.mp4
                      -   20240915_0003_1720_1580.mp4_transcoded.mp4
                      -   20240915_0003_1721_1582.mp4_transcoded.mp4
                      -   20240915_0003_1722_1588.mp4_transcoded.mp4
                      -   20240915_0003_1723_1590.mp4_transcoded.mp4
                      -   20240915_0003_1724_1595.mp4_transcoded.mp4
                      -   20240915_0003_1725_1598.mp4_transcoded.mp4
                      -   20240915_0003_1726_1601.mp4_transcoded.mp4
                      -   20240915_0003_1727_1605.mp4_transcoded.mp4
                      -   20240915_0003_1728_1610.mp4_transcoded.mp4
                      -   20240915_0003_1729_1613.mp4_transcoded.mp4
                      -   20240915_0003_1730_1619.mp4_transcoded.mp4
                      -   20240915_0003_1731_1621.mp4_transcoded.mp4
                      -   20240915_0003_1732_1626.mp4_transcoded.mp4
                      -   20240915_0003_1733_1630.mp4_transcoded.mp4
                      -   20240915_0003_1734_1635.mp4_transcoded.mp4
                      -   20240915_0003_1735_1639.mp4_transcoded.mp4
                      -   20240915_0003_1736_1643.mp4_transcoded.mp4
                      -   20240915_0003_1737_1646.mp4_transcoded.mp4
                      -   20240915_0003_1738_1651.mp4_transcoded.mp4
                      -   20240915_0003_1739_1655.mp4_transcoded.mp4
                                               53
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0003_1740_1660.mp4_transcoded.mp4
                      -   20240915_0003_1741_1663.mp4_transcoded.mp4
                      -   20240915_0003_1742_1665.mp4_transcoded.mp4
                      -   20240915_0003_1743_1671.mp4_transcoded.mp4
                      -   20240915_0003_1744_1675.mp4_transcoded.mp4
                      -   20240915_0003_1745_1679.mp4_transcoded.mp4
                      -   20240915_0003_1746_1684.mp4_transcoded.mp4
                      -   20240915_0003_1747_1686.mp4_transcoded.mp4
                      -   20240915_0009_1110_139.mp4_transcoded.mp4
                      -   20240915_0009_1111_143.mp4_transcoded.mp4
                      -   20240915_0009_1112_144.mp4_transcoded.mp4
                      -   20240915_0009_1113_149.mp4_transcoded.mp4
                      -   20240915_0009_1114_151.mp4_transcoded.mp4
                      -   20240915_0009_1115_155.mp4_transcoded.mp4
                      -   20240915_0009_1116_159.mp4_transcoded.mp4
                      -   20240915_0009_1117_164.mp4_transcoded.mp4
                      -   20240915_0009_1118_166.mp4_transcoded.mp4
                      -   20240915_0009_1119_170.mp4_transcoded.mp4
                      -   20240915_0009_1120_174.mp4_transcoded.mp4
                      -   20240915_0009_1121_178.mp4_transcoded.mp4
                      -   20240915_0009_1122_182.mp4_transcoded.mp4
                      -   20240915_0009_1123_186.mp4_transcoded.mp4
                      -   20240915_0009_1124_190.mp4_transcoded.mp4
                      -   20240915_0009_1125_194.mp4_transcoded.mp4
                      -   20240915_0009_1126_197.mp4_transcoded.mp4
                      -   20240915_0009_1127_200.mp4_transcoded.mp4
                      -   20240915_0009_1128_206.mp4_transcoded.mp4
                      -   20240915_0009_1129_208.mp4_transcoded.mp4
                      -   20240915_0009_1130_212.mp4_transcoded.mp4
                      -   20240915_0009_1131_216.mp4_transcoded.mp4
                                               54
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0009_1132_220.mp4_transcoded.mp4
                      -   20240915_0009_1133_224.mp4_transcoded.mp4
                      -   20240915_0009_1134_228.mp4_transcoded.mp4
                      -   20240915_0009_1135_233.mp4_transcoded.mp4
                      -   20240915_0009_1136_236.mp4_transcoded.mp4
                      -   20240915_0009_1137_239.mp4_transcoded.mp4
                      -   20240915_0009_1138_243.mp4_transcoded.mp4
                      -   20240915_0009_1139_246.mp4_transcoded.mp4
                      -   20240915_0009_1140_250.mp4_transcoded.mp4
                      -   20240915_0009_1141_253.mp4_transcoded.mp4
                      -   20240915_0009_1142_257.mp4_transcoded.mp4
                      -   20240915_0009_1143_260.mp4_transcoded.mp4
                      -   20240915_0009_1144_266.mp4_transcoded.mp4
                      -   20240915_0009_1145_267.mp4_transcoded.mp4
                      -   20240915_0009_1146_271.mp4_transcoded.mp4
                      -   20240915_0009_1147_275.mp4_transcoded.mp4
                      -   20240915_0009_1148_280.mp4_transcoded.mp4
                      -   20240915_0009_1149_283.mp4_transcoded.mp4
                      -   20240915_0009_1150_287.mp4_transcoded.mp4
                      -   20240915_0009_1151_291.mp4_transcoded.mp4
                      -   20240915_0009_1152_295.mp4_transcoded.mp4
                      -   20240915_0009_1153_298.mp4_transcoded.mp4
                      -   20240915_0009_1154_304.mp4_transcoded.mp4
                      -   20240915_0009_1155_306.mp4_transcoded.mp4
                      -   20240915_0009_1156_309.mp4_transcoded.mp4
                      -   20240915_0009_1157_315.mp4_transcoded.mp4
                      -   20240915_0009_1158_319.mp4_transcoded.mp4
                      -   20240915_0009_1159_322.mp4_transcoded.mp4
                      -   20240915_0009_1200_327.mp4_transcoded.mp4
                      -   20240915_0009_1201_330.mp4_transcoded.mp4
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0009_1202_334.mp4_transcoded.mp4
                      -   20240915_0009_1203_337.mp4_transcoded.mp4
                      -   20240915_0009_1204_343.mp4_transcoded.mp4
                      -   20240915_0009_1205_346.mp4_transcoded.mp4
                      -   20240915_0009_1206_351.mp4_transcoded.mp4
                      -   20240915_0009_1207_352.mp4_transcoded.mp4
                      -   20240915_0009_1208_356.mp4_transcoded.mp4
                      -   20240915_0009_1209_360.mp4_transcoded.mp4
                      -   20240915_0009_1210_365.mp4_transcoded.mp4
                      -   20240915_0009_1211_369.mp4_transcoded.mp4
                      -   20240915_0009_1212_371.mp4_transcoded.mp4
                      -   20240915_0009_1213_375.mp4_transcoded.mp4
                      -   20240915_0009_1214_379.mp4_transcoded.mp4
                      -   20240915_0009_1215_382.mp4_transcoded.mp4
                      -   20240915_0009_1216_385.mp4_transcoded.mp4
                      -   20240915_0009_1217_389.mp4_transcoded.mp4
                      -   20240915_0009_1218_394.mp4_transcoded.mp4
                      -   20240915_0009_1219_397.mp4_transcoded.mp4
                      -   20240915_0009_1220_398.mp4_transcoded.mp4
                      -   20240915_0009_1221_403.mp4_transcoded.mp4
                      -   20240915_0009_1506_1046.mp4_transcoded.mp4
                      -   20240915_0009_1507_1051.mp4_transcoded.mp4
                      -   20240915_0009_1508_1054.mp4_transcoded.mp4
                      -   20240915_0009_1509_1059.mp4_transcoded.mp4
                      -   20240915_0009_1510_1062.mp4_transcoded.mp4
                      -   20240915_0009_1511_1067.mp4_transcoded.mp4
                      -   20240915_0009_1512_1070.mp4_transcoded.mp4
                      -   20240915_0009_1513_1075.mp4_transcoded.mp4
                      -   20240915_0009_1514_1079.mp4_transcoded.mp4
                      -   20240915_0009_1515_1082.mp4_transcoded.mp4
                                               56
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0009_1516_1087.mp4_transcoded.mp4
                      -   20240915_0009_1517_1090.mp4_transcoded.mp4
                      -   20240915_0009_1518_1095.mp4_transcoded.mp4
                      -   20240915_0009_1519_1098.mp4_transcoded.mp4
                      -   20240915_0009_1520_1103.mp4_transcoded.mp4
                      -   20240915_0009_1521_1108.mp4_transcoded.mp4
                      -   20240915_0009_1522_1111.mp4_transcoded.mp4
                      -   20240915_0009_1523_1114.mp4_transcoded.mp4
                      -   20240915_0009_1524_1120.mp4_transcoded.mp4
                      -   20240915_0009_1525_1122.mp4_transcoded.mp4
                      -   20240915_0009_1526_1127.mp4_transcoded.mp4
                      -   20240915_0009_1527_1130.mp4_transcoded.mp4
                      -   20240915_0009_1528_1135.mp4_transcoded.mp4
                      -   20240915_0009_1529_1138.mp4_transcoded.mp4
                      -   20240915_0009_1530_1144.mp4_transcoded.mp4
                      -   20240915_0009_1531_1146.mp4_transcoded.mp4
                      -   20240915_0009_1532_1151.mp4_transcoded.mp4
                      -   20240915_0009_1533_1154.mp4_transcoded.mp4
                      -   20240915_0009_1534_1159.mp4_transcoded.mp4
                      -   20240915_0009_1535_1162.mp4_transcoded.mp4
                      -   20240915_0009_1536_1168.mp4_transcoded.mp4
                      -   20240915_0009_1537_1170.mp4_transcoded.mp4
                      -   20240915_0009_1538_1176.mp4_transcoded.mp4
                      -   20240915_0009_1539_1178.mp4_transcoded.mp4
                      -   20240915_0009_1540_1185.mp4_transcoded.mp4
                      -   20240915_0009_1541_1189.mp4_transcoded.mp4
                      -   20240915_0009_1542_1193.mp4_transcoded.mp4
                      -   20240915_0009_1543_1194.mp4_transcoded.mp4
                      -   20240915_0009_1544_1199.mp4_transcoded.mp4
                      -   20240915_0009_1545_1204.mp4_transcoded.mp4
                                               57
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0009_1546_1207.mp4_transcoded.mp4
                      -   20240915_0009_1547_1210.mp4_transcoded.mp4
                      -   20240915_0009_1548_1214.mp4_transcoded.mp4
                      -   20240915_0009_1549_1218.mp4_transcoded.mp4
                      -   20240915_0009_1550_1223.mp4_transcoded.mp4
                      -   20240915_0009_1551_1229.mp4_transcoded.mp4
                      -   20240915_0009_1552_1230.mp4_transcoded.mp4
                      -   20240915_0009_1553_1234.mp4_transcoded.mp4
                      -   20240915_0009_1554_1240.mp4_transcoded.mp4
                      -   20240915_0009_1555_1243.mp4_transcoded.mp4
                      -   20240915_0009_1556_1246.mp4_transcoded.mp4
                      -   20240915_0009_1557_1251.mp4_transcoded.mp4
                      -   20240915_0009_1558_1254.mp4_transcoded.mp4
                      -   20240915_0009_1559_1259.mp4_transcoded.mp4
                      -   20240915_0009_1600_1262.mp4_transcoded.mp4
                      -   20240915_0009_1601_1268.mp4_transcoded.mp4
                      -   20240915_0009_1602_1273.mp4_transcoded.mp4
                      -   20240915_0009_1603_1275.mp4_transcoded.mp4
                      -   20240915_0009_1604_1278.mp4_transcoded.mp4
                      -   20240915_0009_1605_1284.mp4_transcoded.mp4
                      -   20240915_0009_1606_1286.mp4_transcoded.mp4
                      -   20240915_0009_1607_1293.mp4_transcoded.mp4
                      -   20240915_0009_1609_1299.mp4_transcoded.mp4
                      -   20240915_0009_1610_1301.mp4_transcoded.mp4
                      -   20240915_0009_1611_1306.mp4_transcoded.mp4
                      -   20240915_0009_1612_1310.mp4_transcoded.mp4
                      -   20240915_0009_1613_1315.mp4_transcoded.mp4
                      -   20240915_0009_1614_1317.mp4_transcoded.mp4
                      -   20240915_0009_1615_1322.mp4_transcoded.mp4
                      -   20240915_0009_1616_1325.mp4_transcoded.mp4
                                               58
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0009_1617_1330.mp4_transcoded.mp4
                      -   20240915_0009_1618_1333.mp4_transcoded.mp4
                      -   20240915_0009_1619_1337.mp4_transcoded.mp4
                      -   20240915_0009_1620_1341.mp4_transcoded.mp4
                      -   20240915_0009_1621_1346.mp4_transcoded.mp4
                      -   20240915_0009_1622_1349.mp4_transcoded.mp4
                      -   20240915_0009_1623_1355.mp4_transcoded.mp4
                      -   20240915_0009_1624_1357.mp4_transcoded.mp4
                      -   20240915_0009_1625_1362.mp4_transcoded.mp4
                      -   20240915_0009_1626_1365.mp4_transcoded.mp4
                      -   20240915_0009_1627_1371.mp4_transcoded.mp4
                      -   20240915_0009_1628_1374.mp4_transcoded.mp4
                      -   20240915_0009_1629_1377.mp4_transcoded.mp4
                      -   20240915_0009_1630_1382.mp4_transcoded.mp4
                      -   20240915_0009_1631_1385.mp4_transcoded.mp4
                      -   20240915_0009_1632_1389.mp4_transcoded.mp4
                      -   20240915_0009_1633_1394.mp4_transcoded.mp4
                      -   20240915_0009_1634_1397.mp4_transcoded.mp4
                      -   20240915_0009_1635_1401.mp4_transcoded.mp4
                      -   20240915_0009_1636_1406.mp4_transcoded.mp4
                      -   20240915_0009_1637_1409.mp4_transcoded.mp4
                      -   20240915_0009_1638_1415.mp4_transcoded.mp4
                      -   20240915_0009_1639_1417.mp4_transcoded.mp4
                      -   20240915_0009_1640_1424.mp4_transcoded.mp4
                      -   20240915_0009_1641_1425.mp4_transcoded.mp4
                      -   20240915_0009_1642_1431.mp4_transcoded.mp4
                      -   20240915_0009_1643_1435.mp4_transcoded.mp4
                      -   20240915_0009_1644_1438.mp4_transcoded.mp4
                      -   20240915_0009_1645_1439.mp4_transcoded.mp4
                      -   20240915_0009_1646_1444.mp4_transcoded.mp4
                                               59
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0009_1647_1448.mp4_transcoded.mp4
                      -   20240915_0009_1648_1454.mp4_transcoded.mp4
                      -   20240915_0009_1649_1455.mp4_transcoded.mp4
                      -   20240915_0009_1650_1460.mp4_transcoded.mp4
                      -   20240915_0009_1651_1463.mp4_transcoded.mp4
                      -   20240915_0009_1652_1468.mp4_transcoded.mp4
                      -   20240915_0009_1653_1470.mp4_transcoded.mp4
                      -   20240915_0009_1654_1476.mp4_transcoded.mp4
                      -   20240915_0009_1655_1478.mp4_transcoded.mp4
                      -   20240915_0009_1656_1484.mp4_transcoded.mp4
                      -   20240915_0009_1657_1486.mp4_transcoded.mp4
                      -   20240915_0009_1658_1491.mp4_transcoded.mp4
                      -   20240915_0009_1659_1494.mp4_transcoded.mp4
                      -   20240915_0009_1700_1499.mp4_transcoded.mp4
                      -   20240915_0009_1701_1502.mp4_transcoded.mp4
                      -   20240915_0009_1702_1508.mp4_transcoded.mp4
                      -   20240915_0009_1703_1510.mp4_transcoded.mp4
                      -   20240915_0009_1704_1514.mp4_transcoded.mp4
                      -   20240915_0009_1705_1518.mp4_transcoded.mp4
                      -   20240915_0009_1706_1523.mp4_transcoded.mp4
                      -   20240915_0009_1707_1526.mp4_transcoded.mp4
                      -   20240915_0009_1708_1532.mp4_transcoded.mp4
                      -   20240915_0009_1709_1534.mp4_transcoded.mp4
                      -   20240915_0009_1710_1540.mp4_transcoded.mp4
                      -   20240915_0009_1711_1543.mp4_transcoded.mp4
                      -   20240915_0009_1712_1548.mp4_transcoded.mp4
                      -   20240915_0009_1713_1553.mp4_transcoded.mp4
                      -   20240915_0009_1714_1555.mp4_transcoded.mp4
                      -   20240915_0009_1715_1558.mp4_transcoded.mp4
                      -   20240915_0009_1716_1562.mp4_transcoded.mp4
                                               60
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0009_1717_1567.mp4_transcoded.mp4
                      -   20240915_0009_1718_1570.mp4_transcoded.mp4
                      -   20240915_0009_1719_1575.mp4_transcoded.mp4
                      -   20240915_0009_1720_1578.mp4_transcoded.mp4
                      -   20240915_0009_1721_1583.mp4_transcoded.mp4
                      -   20240915_0009_1722_1587.mp4_transcoded.mp4
                      -   20240915_0009_1723_1591.mp4_transcoded.mp4
                      -   20240915_0009_1724_1594.mp4_transcoded.mp4
                      -   20240915_0009_1725_1599.mp4_transcoded.mp4
                      -   20240915_0009_1726_1603.mp4_transcoded.mp4
                      -   20240915_0009_1727_1608.mp4_transcoded.mp4
                      -   20240915_0009_1728_1609.mp4_transcoded.mp4
                      -   20240915_0009_1729_1614.mp4_transcoded.mp4
                      -   20240915_0009_1730_1617.mp4_transcoded.mp4
                      -   20240915_0009_1731_1622.mp4_transcoded.mp4
                      -   20240915_0009_1732_1628.mp4_transcoded.mp4
                      -   20240915_0009_1733_1631.mp4_transcoded.mp4
                      -   20240915_0009_1734_1633.mp4_transcoded.mp4
                      -   20240915_0009_1735_1638.mp4_transcoded.mp4
                      -   20240915_0009_1736_1641.mp4_transcoded.mp4
                      -   20240915_0009_1737_1645.mp4_transcoded.mp4
                      -   20240915_0009_1738_1649.mp4_transcoded.mp4
                      -   20240915_0009_1739_1654.mp4_transcoded.mp4
                      -   20240915_0009_1740_1657.mp4_transcoded.mp4
                      -   20240915_0009_1741_1662.mp4_transcoded.mp4
                      -   20240915_0009_1742_1666.mp4_transcoded.mp4
                      -   20240915_0009_1743_1670.mp4_transcoded.mp4
                      -   20240915_0009_1744_1673.mp4_transcoded.mp4
                      -   20240915_0009_1745_1678.mp4_transcoded.mp4
                      -   20240915_0009_1746_1681.mp4_transcoded.mp4
                                               61
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0009_1747_1687.mp4_transcoded.mp4
                      -   20240915_0009_1748_1689.mp4_transcoded.mp4
                      -   20240915_0009_1749_1696.mp4_transcoded.mp4
                      -   20240915_0009_1750_1697.mp4_transcoded.mp4
                      -   20240915_0009_1751_1701.mp4_transcoded.mp4
                      -   20240915_0009_1752_1705.mp4_transcoded.mp4
                      -   20240915_0009_1753_1710.mp4_transcoded.mp4
                      -   20240915_0009_1754_1714.mp4_transcoded.mp4
                      -   20240915_0009_1755_1718.mp4_transcoded.mp4
                      -   20240915_0009_1756_1722.mp4_transcoded.mp4
                      -   20240915_0009_1757_1726.mp4_transcoded.mp4
                      -   20240915_0009_1758_1730.mp4_transcoded.mp4
                      -   20240915_0009_1759_1735.mp4_transcoded.mp4
                      -   20240915_0009_1800_1738.mp4_transcoded.mp4
                      -   20240915_0009_1801_1742.mp4_transcoded.mp4
                      -   20240915_0009_1802_1746.mp4_transcoded.mp4
                      -   20240915_0009_1803_1751.mp4_transcoded.mp4
                      -   20240915_0009_1804_1754.mp4_transcoded.mp4
                      -   20240915_0009_1805_1759.mp4_transcoded.mp4
                      -   20240915_0009_1806_1761.mp4_transcoded.mp4
                      -   20240915_0009_1807_1765.mp4_transcoded.mp4
                      -   20240915_0009_1808_1771.mp4_transcoded.mp4
                      -   20240915_0009_1809_1774.mp4_transcoded.mp4
                      -   20240915_0009_1810_1779.mp4_transcoded.mp4
                      -   20240915_0009_1811_1781.mp4_transcoded.mp4
                      -   20240915_0009_1812_1786.mp4_transcoded.mp4
                      -   20240915_0009_1813_1792.mp4_transcoded.mp4
                      -   20240915_0009_1814_1794.mp4_transcoded.mp4
                      -   20240915_0009_1815_1797.mp4_transcoded.mp4
                      -   20240915_0009_1816_1803.mp4_transcoded.mp4
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FOLDER:                                              FILE:                                 BATES Nos.:
                      -   20240915_0009_1817_1805.mp4_transcoded.mp4
                      -   20240915_0009_1818_1810.mp4_transcoded.mp4
                      -   20240915_0009_1819_1813.mp4_transcoded.mp4
                      -   20240915_0009_1820_1817.mp4_transcoded.mp4
                      -   20240915_0009_1821_1821.mp4_transcoded.mp4
                      -   20240915_0009_1822_1826.mp4_transcoded.mp4
                      -   20240915_0009_1823_1829.mp4_transcoded.mp4
                      -   20240915_0009_1824_1833.mp4_transcoded.mp4
                      -   20240915_0009_1825_1837.mp4_transcoded.mp4
                      -   20240915_0009_1826_1842.mp4_transcoded.mp4
                      -   20240915_0009_1827_1845.mp4_transcoded.mp4
                      -   20240915_0009_1828_1850.mp4_transcoded.mp4
                      -   20240915_0009_1829_1853.mp4_transcoded.mp4
                      -   20240915_0009_1830_1858.mp4_transcoded.mp4
                      -   20240915_0009_1831_1861.mp4_transcoded.mp4
                      -   20240915_0009_1832_1866.mp4_transcoded.mp4
                      -   20240915_0009_1833_1870.mp4_transcoded.mp4
                      -   20240915_0009_1834_1874.mp4_transcoded.mp4
                      -   20240915_0009_1835_1878.mp4_transcoded.mp4
                      -   20240915_0009_1836_1882.mp4_transcoded.mp4
                      -   20240915_0009_1837_1886.mp4_transcoded.mp4
                      -   20240915_0009_1838_1888.mp4_transcoded.mp4
                      -   20240915_0009_1839_1893.mp4_transcoded.mp4
                      -   20240915_0009_1840_1896.mp4_transcoded.mp4
                      -   20240915_0009_1841_1901.mp4_transcoded.mp4
                      -   20240915_0009_1842_1904.mp4_transcoded.mp4
                      -   20240915_0009_1843_1908.mp4_transcoded.mp4
                      -   20240915_0009_1844_1912.mp4_transcoded.mp4
                      -   20240915_0009_1845_1917.mp4_transcoded.mp4
                      -   20240915_0009_1846_1920.mp4_transcoded.mp4
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                                                    UNITED STATES v. RYAN WESLEY ROUTH
                                                      CASE NO. 24-80116-CR-Cannon/McCabe
                                                 INDEX TO GOVERNMENT’S SIXTH SDO RESPONSE
                                                        (Bates Range Nos.: Gov009095-015827)
                                                                  Data Size: 469 GB

                   FOLDER:                                                           FILE:                           BATES Nos.:
                                                 - 20240915_0009_1847_1925.mp4_transcoded.mp4
                                                 - 20240915_0009_1848_1928.mp4_transcoded.mp4
                                                 - 20240915_0009_1849_1933.mp4_transcoded.mp4
                                                 - 20240915_0009_1850_1936.mp4_transcoded.mp4
                                                 - 20240915_0009_1851_1942.mp4_transcoded.mp4
                                                 - 20240915_0009_1852_1945.mp4_transcoded.mp4
                                                 - 20240915_0009_1853_1950.mp4_transcoded.mp4
                                                 - 20240915_0009_1854_1953.mp4_transcoded.mp4
                                                 - 20240915_0009_1855_1958.mp4_transcoded.mp4
                                                 - 20240915_0009_1856_1961.mp4_transcoded.mp4
                                                 - 20240915_0009_1857_1966.mp4_transcoded.mp4
                                                 - 20240915_0009_1859_1972.mp4_transcoded.mp4
                                                 - 20240915_0009_1900_1977.mp4_transcoded.mp4
    > 05 RTCC and Other                       PBSO_RTCC_OtherVideos.zip (Gov012750)                                   Gov012750
    > 06 PBC School Police                    >>>09.15.2024 [1722] (02) Service Entrance Facing North              Gov012751-012770
                                              -     00h00m01s.avi 2 (Gov012751)
                                              -     05h26m02s.avi (Gov012752)
                                              -     10h07m32s.avi (Gov012753)
                                              -     13h54m02s.avi (Gov012754)
                                              -     18h54m17s.avi (Gov012755)
                                              -     23h57m17s.avi (Gov012756)
                                              >>>09.15.2024 [1722] (13) Building #3 Main Entry
                                              -     00h00m05s.avi (Gov012757)
                                              -     03h54m50s.avi (Gov012758)
                                              -     08h09m05s.avi (Gov012759)
                                              -     10h35m55s.avi (Gov012760)
                                              -     12h30m45s.avi (Gov012761)
                                              -     15h41m05s.avi (Gov012762)

2
    “.avi” file accessible with VLC player.
                                                                            64
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